                                  Case 23-11878                        Doc 1    Filed 11/17/23            Page 1 of 85

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                      Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                          Timber Pharmaceuticals, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                 BioPharmX Corporation
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               5    9 3 8 4 3 1 8 2
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                            of business

                                              3          Mountain View Road
                                              ______________________________________________                _______________________________________________
                                              Number          Street                                        Number     Street

                                             Suite   100
                                             ______________________________________________                 _______________________________________________
                                                                                                            P.O. Box

                                             Warren                    NJ        07059
                                             ______________________________________________                 _______________________________________________
                                              City                              State     ZIP Code          City                      State      ZIP Code


                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                                  Somerset County
                                              ______________________________________________
                                              County                                                        _______________________________________________
                                                                                                            Number     Street

                                                                                                            _______________________________________________

                                                                                                            _______________________________________________
                                                                                                            City                      State      ZIP Code




 5.   Debtor’s website (URL)                 https://www.timberpharma.com/
                                             ____________________________________________________________________________________________________




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                                  Case 23-11878             Doc 1       Filed 11/17/23             Page 2 of 85

Debtor
             Timber    Pharmaceuticals, Inc.
             _______________________________________________________                        Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            3___ 2___ ___
                                                      5 ___
                                                          4
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                                        Case 23-11878          Doc 1          Filed 11/17/23             Page 3 of 85

Debtor
              Timber Pharmaceuticals, Inc.                                                      Case number (if known)_____________________________________
               _______________________________________________________
               Name


 9.   Were prior bankruptcy cases             No
      filed by or against the debtor
      within the last 8 years?                Yes. District _______________________ When _______________ Case number _________________________
                                                                                                 MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                   District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10. Are any bankruptcy cases                 No
      pending or being filed by a
      business partner or an                  Yes. Debtor _____________________________________________
                                                           BioPharmX Inc. and Timber Pharmaceuticals LLC              Affiliate
                                                                                                         Relationship _________________________
      affiliate of the debtor?                                 Delaware
                                                       District _____________________________________________ When               11/17/2023
                                                                                                                                 __________________
      List all cases. If more than 1,                                                                                            MM / DD / YYYY
      attach a separate list.                          Case number, if known ________________________________



 11. Why is the case filed in this           Check all that apply:
      district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have              No
      possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                      Other _______________________________________________________________________________


                                                     Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                     Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________
                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




              Statistical and administrative information




 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
       
                                    Case 23-11878                Doc 1         Filed 11/17/23             Page 4 of 85

    Debtor
                Timber    Pharmaceuticals, Inc.
                _______________________________________________________                             Case number (if known)_____________________________________
                Name




     13. Debtor’s estimation of              Check one:
         available funds                      Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              1-49                               1,000-5,000                                25,001-50,000
     14. Estimated number of
                                              50-99                              5,001-10,000                               50,001-100,000
         creditors
                                              100-199                            10,001-25,000                              More than 100,000
                                              200-999

                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     15. Estimated assets
                                              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     16. Estimated liabilities
                                              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


                Request for Relief, Declaration, and Signatures


     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of
                                                 petition.
         debtor
                                             Q   I have been authorized to file this petition on behalf of the debtor.

                                             Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                                 correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.
                                                              
                                                 Executed on _________________
                                                             MM / DD / YYYY


                                             8   _____________________________________________                John Koconis
                                                                                                              _______________________________________________
                                                 Signature of authorized representative of debtor             Printed name


                                                        Chief Executive Officer
                                                 Title _________________________________________




     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                              Case 23-11878              Doc 1          Filed 11/17/23         Page 5 of 85
            Timber Pharmaceuticals, Inc.
Debtor      _______________________________________________________                     Case number (if known)_____________________________________
            Name



                                            /s/ Eric D. Schwartz                                                 11/17/2023
 18. Signature of attorney
                                         _____________________________________________            Date          _________________
                                          Signature of attorney for debtor                                       MM   / DD / YYYY

                                        Eric D. Schwartz
                                         _________________________________________________________________________________________________
                                         Printed name
                                         Morris,   Nichols, Arsht & Tunnell LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1201      North Market Street
                                         _________________________________________________________________________________________________
                                         Number         Street
                                           Wilmington
                                          ____________________________________________________ DE            19899-1347
                                                                                               ____________ ______________________________
                                         City                                                            State         ZIP Code

                                          302-351-9308
                                         ____________________________________                            eschwartz@morrisnichols.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address


                                          3134                                                            DE
                                         ______________________________________________________ ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 5
                                 Case 23-11878            Doc 1         Filed 11/17/23            Page 6 of 85
Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit AA@ shall be completed and attached to the petition.]

                                                             [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is 001-37411
                                       _______________.

            2. The following financial data is the latest available information and refers to the debtor=s condition on
         6/30/2023
        ______________.
              a. Total assets                                                             $ 3,326,213

              b. Total debts (including debts listed in 2.c., below)                      $     5,947,297
              c. Debt securities held by more than 500 holders
                                                                                                                           Approximate
                                                                                                                           number of
                                                                                                                           holders:

              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $

              d. Number of shares of preferred stock
              e. Number of shares common stock                                                                               3,047,431

              Comments, if any:



            3. Brief description of debtor=s business: Debtor is a medical dermatology company focused on
         rare diseases or conditions of the skin for which there are no current treatments.


            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
        Tudor Investment Corporation owns 8.12% of the shares




        Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                         Case 23-11878            Doc 1      Filed 11/17/23         Page 7 of 85




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    TIMBER PHARMACEUTICALS, INC., et. al.,1 Case No. 23-_______ (____)

                                                                    (Joint Administration Requested)
                                         Debtors.

                          LIST OF EQUITY HOLDERS PURSUANT TO
                    FEDERAL RULE OF BANKRUPTCY PROCEDURE 1007(A)(3)

                      As of the Petition Date, there were approximately 3,086,489 shares of the Debtor’s

common stock issued and outstanding. The Debtor Timber Pharmaceuticals, Inc. cannot

practically obtain in the timeframe required the precise number of holders of common stock. Given

the large number of holders, the Debtor Timber Pharmaceuticals, Inc. will file a motion on the

petition date, pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure,

requesting a waiver of the requirement to file its equity security holder list with the court.




1
             The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
             number, are Timber Pharmaceuticals, Inc. (3182), Timber Pharmaceuticals LLC (3698), and BioPharmX Inc.
             (5554). The Debtors’ headquarters is located at 3 Mountain View Road, Suite 100, Warren, New Jersey
             07059.
                         Case 23-11878            Doc 1      Filed 11/17/23         Page 8 of 85




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    TIMBER PHARMACEUTICALS, INC., et.                               Case No. 23-_______ (____)
    al., 1
                                                                    (Joint Administration Requested)
                                         Debtors.

       CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY INTEREST
      HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                      Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

Bankruptcy Procedure, the Debtor Timber Pharmaceuticals, Inc., to the best of its knowledge,

information, and belief, hereby states that no parent corporation or publicly traded corporation

owns 10 percent or more of its stock.




1
             The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
             number, are Timber Pharmaceuticals, Inc. (3182), Timber Pharmaceuticals LLC (3698), and BioPharmX Inc.
             (5554). The Debtors’ headquarters is located at 3 Mountain View Road, Suite 100, Warren, New Jersey
             07059.


                                                               2
          Case 23-11878       Doc 1    Filed 11/17/23     Page 9 of 85




                            PROPOSED
                        RESOLUTIONS OF THE
                      BOARD OF DIRECTORS OF
                   TIMBER PHARMACEUTICALS, INC.

                   ADOPTED AT A MEETING HELD ON
                          November 17, 2023



        WHEREAS, the Board of Directors (the “Board”) of Timber Pharmaceuticals,
Inc., a Delaware corporation (the “Company”), approved that certain Agreement and Plan
of Merger, dated as of August 20, 2023, by and among the Company, LEO US Holdings,
Inc. (“Leo US”), LEO Spiny Merger Sub, Inc. (“Leo Spiny”) and LEO Pharma A/S
(“Leo”), as guarantor (the “Merger Agreement”), and recommended the adoption of the
Merger Agreement by the stockholders of the Company (the “Stockholders”);

       WHEREAS, on October 16, 2023, the Company convened its 2023 special
meeting of the Stockholders (the “Special Meeting”), and adjourned the Special Meeting
to October 30, 2023, as an insufficient number of votes were received to approve the
Merger Agreement, with only 36.89% of Stockholders voting and only 33.14% having
voted to approve the Merger Agreement as of October 16, 2023;

       WHEREAS, on October 30, 2023, the Company reconvened its Special Meeting,
and the Stockholders adjourned the reconvened Special Meeting to November 17, 2023,
as there was still an insufficient number of votes received to approve the Merger
Agreement, with only 38.77% of the Stockholders voting and only 34.86% having voted
to approve the Merger Agreement as of October 30, 2023;

        WHEREAS, on October 31, 2023 the Company mailed a letter to all
Stockholders of record advising such Stockholders that the Company continues to
lack sufficient capital to operate its business and to repay the secured Bridge Loan
entered in connection with the Merger and urging them to vote for the Merger Agreement
without which approval the Company would be required to seek the protection of
bankruptcy courts;

       WHEREAS, on the date hereof, the Company is scheduled to reconvene its
Special Meeting, and it appears there are still an insufficient number of votes to approve
the Merger Agreement because as of the close of business on November 16, 2023, there
were only 41.16% of the Stockholders voting and only 36.13% having voted to approve
the Merger Agreement;

       WHEREAS, the Company has been advised by its proxy manager, Alliance
Advisors, LLC that the Company is unlikely to receive the requisite Stockholder approval
even if the Merger Agreement were extended and the Special Meeting was further
adjourned;



                                       -1-
          Case 23-11878       Doc 1     Filed 11/17/23     Page 10 of 85




       WHEREAS, since August, 2023, the Company has been able to operate its
business only by using capital from the Bridge Loan entered into with Leo at the signing
of the Merger Agreement and as amended and increased on October 27, 2023;

       WHEREAS, Leo has advised management that it is unwilling to extend the End
Date in the Merger Agreement to continue to provide capital when it does not appear that
the Company will receive the requisite Stockholder votes to approve the Merger
Agreement, but that it is willing to pursue other alternatives to potentially permit the
continuation of the Company’s business and operations;

        WHEREAS, the Company has retained the firm VRS Restructuring Services,
LLC to provide restructuring services including, among other things, providing the
Company with a Chief Restructuring Officer, Jeffrey T. Varsalone, to assist the Company
in evaluating its business, financial prospects, liquidity, strategic alternatives, developing
a business plan, budgeting, developing financial data for evaluation by the Board,
creditors, prospective transaction counterparties, or other third parties, in each case, as
requested by the Board or by management of the Company, evaluating the Company’s
capital structure, responding to issues related to the Company’s financial liquidity, and
assist in any additional financing, sale, reorganization, business combination, or other
similar disposition of the Company’s assets and negotiations regarding same;

        WHEREAS, the Board has considered presentations by the management and the
financial, legal and other advisors of the Company regarding the financial condition,
results of operations, cash flows, liquidity, prospects and other metrics relevant to the
Company’s business, the strategic alternatives available to the Company and the effect of
the foregoing on the Company;

        WHEREAS, the management and the Board believe that it is critical to retaining
value for its stakeholders that the Company have access to capital to allow it to continue
the clinical trial for TMB-001 uninterrupted; and

        WHEREAS, the Board has consulted with the management and the financial,
legal and other advisors of the Company and fully considered each of the strategic
alternatives available to the Company and the relative risks and benefits of pursuing a
bankruptcy proceeding under the provisions of Chapter 11 of Title 11 of the United States
Code (the “Bankruptcy Code”).

NOW, THEREFORE, BE IT,

Chapter 11 Case

        RESOLVED, that, if there is an insufficient number of votes to approve the
Merger Agreement at the conclusion of the Special Meeting to be held on the date hereof,
then, in the judgment of the Board, it is desirable and in the best interests of the
Company, its creditors and other parties in interest, that the Company file or cause to be
filed a voluntary petition for relief (the “Chapter 11 Case”) under Chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”); and be it further


                                         -2-
         Case 23-11878        Doc 1     Filed 11/17/23     Page 11 of 85




       RESOLVED, that in such case, the officers of the Company (the “Authorized
Officers”), be, and each of them hereby is, authorized to cause the Company to file such a
voluntary petition in the Bankruptcy Court; and be it further

       RESOLVED, that the Authorized Officers, be, and each of them hereby is,
authorized, empowered and directed to execute and file on behalf of the Company all
motions, papers, documents, or other filings, and to take any and all action that they deem
necessary or proper to effect the foregoing resolutions, including, without limitation, any
action necessary to maintain the ordinary course operation of the Company’s business;
and be it further

Stalking Horse Agreement

        RESOLVED, that in connection with the Chapter 11 Case, the Board has
determined it is desirable and in the best interest of the Company to enter into that certain
Asset Purchase Agreement, dated as of the date hereof, by and among the Company,
Timber Pharmaceuticals, LLC (“Timber LLC”), and BioPharmX, Inc. (“BioPharmX”), as
Sellers, and Leo and Leo Spiny, as Buyers, in the form attached hereto as Exhibit A (the
“Stalking Horse Agreement”), and to continue, after commencement of the Chapter 11
Case, the marketing for sale of the Company’s assets and pursue negotiations with any
interested parties regarding one or more sales of such assets or otherwise, in each case
subject to further authorization of the Board of any such sale; and it is further

       RESOLVED, that the terms and provisions of (i) the Stalking Horse Agreement,
with such changes therein and additions thereto as the Authorized Officers executing the
same shall approve, the execution thereof by an Authorized Officer to be deemed
conclusive evidence of such approval, and (ii) the other sale documents including,
without limitation, any exhibits, appendices and schedules thereto, all transactions
contemplated thereby and all actions taken by the Authorized Officer in connection
therewith be, and hereby are, authorized, approved and ratified in all respects with such
modifications, changes, additions and deletions thereto as may be approved or deemed
necessary, desirable, convenient, advisable or appropriate by an Authorized Officer
executing the same, the execution thereof by such Authorized Officer to be conclusive
evidence of such approval, necessity, desirability, convenience, advisability or
appropriateness; and it is further

       RESOLVED, that the execution and delivery of the Stalking Horse Agreement
and the other sale documents, including, without limitation, any exhibits, appendices, and
schedules thereto, and the performance by the Company of its obligations thereunder,
hereby are expressly authorized, adopted, confirmed, ratified and approved, and such
approval is intended to and shall constitute all authorization and approval required by the
Board; and it is further

DIP Credit Agreement

       RESOLVED, that in connection with the Chapter 11 Case, the Board has
determined it is desirable and in the best interest of the Company to enter into that certain



                                         -3-
          Case 23-11878      Doc 1     Filed 11/17/23    Page 12 of 85




Senior Secured Superpriority Priming Debtor-in-Possession Credit Agreement, by and
among the Company, Timber LLC, and BioPharmX, as Borrowers, and Leo US, as
Lender, in the form attached hereto as Exhibit B, (the “DIP Credit Agreement”), and to
continue, after commencement of the Chapter 11 Case, marketing and pursing
negotiations with any interested parties regarding providing debtor-in-possession
financing to the Company, in each case subject to further authorization of the Board of
any such sale; and it is further

        RESOLVED, that the terms and provisions of (i) the DIP Credit Agreement, with
such changes therein and additions thereto as the Authorized Officers executing the same
shall approve, the execution thereof by an Authorized Officer to be deemed conclusive
evidence of such approval, and (ii) the other DIP Credit Agreement documents including,
without limitation, any exhibits, appendices and schedules thereto, all transactions
contemplated thereby and all actions taken by the Authorized Officer in connection
therewith be, and hereby are, authorized, approved and ratified in all respects with such
modifications, changes, additions and deletions thereto as may be approved or deemed
necessary, desirable, convenient, advisable or appropriate by an Authorized Officer
executing the same, the execution thereof by such Authorized Officer to be conclusive
evidence of such approval, necessity, desirability, convenience, advisability or
appropriateness; and it is further

       RESOLVED, that the execution and delivery of the DIP Credit Agreement and
the other sale documents, including, without limitation, any exhibits, appendices, and
schedules thereto, and the performance by the Company of its obligations thereunder,
hereby are expressly authorized, adopted, confirmed, ratified and approved, and such
approval is intended to and shall constitute all authorization and approval required by the
Board; and it is further

Retention of Professionals

       RESOLVED, that any Authorized Officer, and each of them, acting either
individually or jointly, are hereby authorized, empowered and directed, in the name and
on behalf of the Company, to retain Morris, Nichols, Arsht & Tunnell LLP, as
bankruptcy counsel; Lowenstein Sandler LLP, as special counsel to the Company; VRS
Restructuring Services LLC, to provide CRO services and assist the Companies in
carrying out their duties under the Bankruptcy Code, and to take any and all actions to
advance their rights and obligations in connection with the Chapter 11 Case; and Kroll
Restructuring Administration LLC, as claims and noticing agent; and it is further

General

       RESOLVED, that, in addition to the specific authorizations heretofore conferred
upon each of the Authorized Officers, the Authorized Officers be, and each of them
hereby is, authorized and empowered, in the name of and on behalf of the Company, to
take or cause to be taken any and all such other and further actions, and to execute,
acknowledge, deliver and file any and all such agreements, certificates, instruments and
other documents and to pay all expenses, including but not limited to filing fees, in each


                                        -4-
         Case 23-11878       Doc 1    Filed 11/17/23    Page 13 of 85




case as in such Authorized Officer’s judgment, shall be necessary, advisable or desirable
in order to fully carry out the intent and accomplish the purposes of the resolutions
adopted herein;

        RESOLVED, that all acts, actions and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the
Company, which acts would have been approved by the foregoing resolutions except that
such acts were taken before the adoption of these resolutions, are hereby in all respects
approved and ratified as the true acts and deeds of the Company with the same force and
effect as if each such act, transaction, agreement or certificate has been specifically
authorized in advance by resolution of the Board; and

        RESOLVED, that the Authorized Officers (and their designees and delegates) be,
and each of them hereby is, authorized and empowered to take all actions, or to not take
any action in the name of the Company, with respect to all matters contemplated by these
resolutions, as such Authorized Officer shall deem necessary or desirable in such
Authorized Officer’s reasonable business judgment, as may be necessary or convenient to
effectuate the purposes of the foregoing resolutions.


                            **************




                                       -5-
               Case 23-11878      Doc 1    Filed 11/17/23    Page 14 of 85




       The Corporate Secretary of the Company certifies that the foregoing resolutions were
adopted by the Board at a duly convened meeting.


                                                 ___________________________
                                                 Joseph Lucchese, Corporate Secretary




                          [Signature Page to Resolutions (Timber)]
Case 23-11878     Doc 1     Filed 11/17/23   Page 15 of 85




                          Exhibit A

                Stalking Horse Agreement

                      [see attached]




                             -7-
Case 23-11878    Doc 1     Filed 11/17/23   Page 16 of 85

                                                      Execution Version




         ASSET PURCHASE AGREEMENT

                          among

                LEO PHARMA A/S, and

         LEO SPINY MERGER SUB, INC.,

                         as Buyers

                           and

       TIMBER PHARMACEUTICALS, INC.,



     TIMBER PHARMACEUTICALS, LLC, and



                 BIOPHARMX, INC.



                         as Sellers



                     dated as of
                  November 17, 2023
                       Case 23-11878                Doc 1         Filed 11/17/23              Page 17 of 85

                                                                                                                  Execution Version


                                                 TABLE OF CONTENTS

ARTICLE I DEFINITIONS ........................................................................................................... 1

          Section 1.01          Definitions ................................................................................................. 1
          Section 1.02          Other Definitional and Interpretative Provisions .................................... 13

ARTICLE II PURCHASE AND SALE ....................................................................................... 13

          Section 2.01          Purchase and Sale of Assets .................................................................... 13
          Section 2.02          Excluded Assets ...................................................................................... 16
          Section 2.03          Assumed Liabilities ................................................................................. 17
          Section 2.04          Excluded Liabilities ................................................................................. 17
          Section 2.05          Assignment of Contracts ......................................................................... 18
          Section 2.06          Assignment of Assets .............................................................................. 19
          Section 2.07          Further Conveyances and Assumptions .................................................. 20
          Section 2.08          Purchase Price ......................................................................................... 21
          Section 2.09          Certain Tax Matters ................................................................................. 21

ARTICLE III CLOSING .............................................................................................................. 22

          Section 3.01          Closing..................................................................................................... 22
          Section 3.02          Closing Deliverables ............................................................................... 22

ARTICLE IV REPRESENTATIONS AND WARRANTIES OF SELLERS ............................. 23

          Section 4.01          Organization and Qualification of Sellers ............................................... 23
          Section 4.02          Authority of Sellers ................................................................................. 24
          Section 4.03          No Conflicts; Consents ............................................................................ 24
          Section 4.04          Title to Purchased Assets ........................................................................ 24
          Section 4.05          Assets Necessary to Business .................................................................. 25
          Section 4.06          Intellectual Property; IT Assets ............................................................... 25
          Section 4.07          Assigned Contracts .................................................................................. 28
          Section 4.08          Real Property ........................................................................................... 29
          Section 4.09          Tangible Personal Property Leases ......................................................... 29
          Section 4.10          Inventory ................................................................................................. 29
          Section 4.11          Compliance With Laws; Permits ............................................................. 29
          Section 4.12          Litigation ................................................................................................. 30
          Section 4.13          Privacy Matters........................................................................................ 30
          Section 4.14          Employee Benefit Plans; Labor Matters ................................................. 31
          Section 4.15          Taxes ....................................................................................................... 34
          Section 4.16          Key Suppliers .......................................................................................... 34
          Section 4.17          Insurance ................................................................................................. 35
          Section 4.18          Finders’ Fees ........................................................................................... 35
          Section 4.19          No Other Representations and Warranties .............................................. 35

ARTICLE V REPRESENTATIONS AND WARRANTIES OF BUYER .................................. 35



                                                                     i
                      Case 23-11878                Doc 1         Filed 11/17/23              Page 18 of 85




         Section 5.01          Organization of Buyers. .......................................................................... 36
         Section 5.02          Authority of Buyers. ................................................................................ 36
         Section 5.03          No Conflicts; Consents ............................................................................ 36
         Section 5.04          Finders’ Fees ........................................................................................... 36
         Section 5.05          Available Funds ....................................................................................... 37
         Section 5.06          Litigation ................................................................................................. 37
         Section 5.07          Independent Investigation ....................................................................... 37
         Section 5.08          Non-Reliance ........................................................................................... 37

ARTICLE VI BANKRUPTCY COURT MATTERS .................................................................. 37

         Section 6.01          Competing Transactions .......................................................................... 37
         Section 6.02          Bankruptcy Court Filings ........................................................................ 37

ARTICLE VII COVENANTS ...................................................................................................... 39

         Section 7.01          Conduct of Business Prior to the Closing ............................................... 39
         Section 7.02          Access to Information ............................................................................. 40
         Section 7.03          Notice of Certain Events ......................................................................... 41
         Section 7.04          Employees and Employee Benefits ......................................................... 42
         Section 7.05          Confidentiality ......................................................................................... 43
         Section 7.06          Consents .................................................................................................. 44
         Section 7.07          Books and Records .................................................................................. 44
         Section 7.08          Public Announcements ............................................................................ 44
         Section 7.09          Further Assurances .................................................................................. 44
         Section 7.10          Wrong Pockets ........................................................................................ 45
         Section 7.11          DIP Financing.......................................................................................... 45
         Section 7.12          No Successor Liability ............................................................................ 46
         Section 7.13          Name Change .......................................................................................... 46

ARTICLE VIII CONDITIONS TO CLOSING............................................................................ 46

         Section 8.01          Conditions to Obligations of All Parties ................................................. 47
         Section 8.02          Conditions to Obligations of Buyers. ...................................................... 47
         Section 8.03          Conditions to Obligations of Sellers ....................................................... 49

ARTICLE IX TERMINATION .................................................................................................... 49

         Section 9.01          Termination ............................................................................................. 49
         Section 9.02          Backup Bidder ......................................................................................... 52
         Section 9.03          Effect of Termination .............................................................................. 52
         Section 9.04          Breakup Fee; Expense Reimbursement ................................................... 52

ARTICLE X MISCELLANEOUS ............................................................................................... 54

         Section 10.01 Notices ..................................................................................................... 54
         Section 10.02 No Survival of Representations and Warranties ..................................... 55
         Section 10.03 Expenses .................................................................................................. 55


                                                                   ii
               Case 23-11878              Doc 1        Filed 11/17/23              Page 19 of 85




      Section 10.04   Entire Agreement .................................................................................... 55
      Section 10.05   Headings .................................................................................................. 55
      Section 10.06   Severability .............................................................................................. 55
      Section 10.07   Binding Effect; Benefit; Assignment. ..................................................... 55
      Section 10.08   No Third Party Beneficiaries ................................................................... 56
      Section 10.09   Amendment and Waivers ........................................................................ 56
      Section 10.10   Governing Law; Jurisdiction; Waiver of Jury Trial ................................ 56
      Section 10.11   Specific Performance .............................................................................. 57
      Section 10.12   Counterparts; Effectiveness ..................................................................... 57




Exhibit A    DIP Loan Agreement

Exhibit B    Bidding Procedures Order

Exhibit C    Bidding Procedures

Exhibit D    Sale Order




                                                          iii
                  Case 23-11878        Doc 1    Filed 11/17/23      Page 20 of 85

                                                                                  Execution Version


                              ASSET PURCHASE AGREEMENT

This Asset Purchase Agreement (this “Agreement”), dated as of November 17, 2023, is entered
into among Timber Pharmaceuticals, Inc. (the “Company”), a Delaware corporation, Timber
Pharmaceuticals, LLC (“Timber LLC”), a Delaware limited liability company, BioPharmX, Inc.
(“BioPharmX”), a Nevada corporation], together with the Company, Timber LLC and
BioPharmX, the “Sellers”, and each being a “Seller”), and LEO Pharma A/S, a Danish
Aktieselskab (“LEO Pharma”) and LEO Spiny Merger Sub, Inc. (“LEO Spiny” and together with
LEO Pharma, “Buyers”), a Delaware corporation.

                                            RECITALS

        WHEREAS, the Sellers are engaged in the development of non-systemic treatments for
rare dermatologic diseases including congenital ichthyosis, including X-linked recessive CI and
autosomal recessive CI and other sclerotic skin diseases, through the development of the Company
Products (the “Business”);

        WHEREAS, Sellers wish to sell and assign to Buyers, and Buyers wish to purchase and
assume from Sellers, substantially all the assets of the Business, subject to the terms and conditions
set forth herein pursuant to Sections 363 and 365 of the Bankruptcy Code (as defined below) and
subject to, among other things, (i) consideration by the Sellers of alternative bids (if any) submitted
following entry of the Bidding Procedures Order (as defined below) and (ii) the entry of the Sale
Order (as defined below);

        WHEREAS, Sellers and Buyers anticipate effecting the sale of substantially all the assets
of the Business through and as part of a case (the “Bankruptcy Case”) filed under title 11 of the
United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”); and

        WHEREAS, the Bridge Lender (as defined below) and DIP Lender (as defined below)
have authorized Buyers to credit bid the Obligations (as defined in the DIP Loan Agreement)
pursuant to Section 362(k) of the Bankruptcy Code in connection with the sale of substantially all
of the assets of the Business to Buyers as part of the Bankruptcy Case on the terms set forth in this
Agreement.

        NOW, THEREFORE, in consideration of the mutual covenants and agreements hereinafter
set forth and for other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the parties hereto agree as follows:

                                           ARTICLE I
                                          DEFINITIONS

        Section 1.01 Definitions. The following terms have the meanings specified or referred to
in this ARTICLE I:

      “Action” means any action, cause of action, claim, demand, litigation, suit, summons,
subpoena, inquiry, investigation, audit, hearing, originating application to a tribunal, arbitration or



                                                  1
                 Case 23-11878        Doc 1    Filed 11/17/23      Page 21 of 85




other legal proceeding of any nature, civil, criminal, regulatory, administrative or otherwise,
whether in equity or at law, in contract, in tort or otherwise.

        “Affiliate” means, with respect to any Person, any other Person directly or indirectly
controlling, controlled by or under common control with such Person. For the purpose of this
definition, “control” (including, with its correlative meanings, “controlled by” and “under common
control with”) shall mean the possession, directly or indirectly, of the power to direct or cause the
direction of management or policies of a Person, whether through the ownership of voting
securities or partnership or other ownership interests, by Contract or otherwise.

       “Agreement” has the meaning set forth in the preamble.

      “Ancillary Documents” means the DIP Loan Agreement, the Bill(s) of Sale, the
Assignment and Assumption Agreement(s), Intellectual Property Assignment(s), and any other
agreements, instruments and documents required to be delivered at the Closing.

       “Applicable Withholding Certificate” means a properly completed and validly executed
IRS Form W-9 of the Company, Timber LLC and BioPharmX certifying that such Person is a
United States person within the meaning of Section 7701(a)(30) of the Code and not subject to
backup withholding.

       “Apportioned Taxes” has the meaning set forth in Section 2.09(c).

       “Assigned Contracts” has the meaning set forth in Section 2.01(c).

       “Assignment and Assumption Agreement” has the meaning set forth in Section
3.02(a)(ii).

       “Assignment and Assumption Notice” has the meaning set forth in Section 6.02(c).

       “Assumed Liabilities” has the meaning set forth in Section 2.03.

       “Assumed Purchase Orders” has the meaning set forth in Section 2.01(d).

       “Assumed Purchase Order Liabilities” has the meaning set forth in Section 2.03(e).

       “Auction” means the auction contemplated by the Bidding Procedures Order.

      “Avoidance Action Claims” means any claims or causes of action held by Sellers’
bankruptcy estates under chapter 5 of the Bankruptcy Code.

       “Bankruptcy Case” has the meaning set forth in the recitals.

       “Bankruptcy Code” has the meaning set forth in the recitals.

       “Bankruptcy Court” has the meaning set forth in the recitals.

        “Backup Bidder” means the party whose bid is determined to be the next highest bid after
the bid of the Successful Bidder at the Auction.


                                                 2
                  Case 23-11878        Doc 1     Filed 11/17/23      Page 22 of 85




       “Backup Bid Outside Date” has the meaning set forth in Section 9.02.

       “Bidding Procedures” means the bidding procedures approved by the Bankruptcy Court
pursuant to the Bidding Procedures Order, in the form of Exhibit C attached hereto subject to (a)
immaterial modifications or clarifications or (b) such other changes to which Buyers and Sellers
reasonably agree to in writing.

        “Bidding Procedures Order” means an order of the Bankruptcy Court approving, among
other things, the Bidding Procedures for conducting a sale and auction of the Purchased Assets,
and authorizing Sellers’ performance of their obligations under this Agreement, in the form of
Exhibit B attached hereto with (a) immaterial modifications or clarifications or (b) such other
changes to which Buyers and Sellers reasonably agree to in writing.

       “Bill of Sale” has the meaning set forth in Section 3.02(a)(i).

       “Books and Records” has the meaning set forth in Section 2.01(m).

       “Breakup Fee” has the meaning set forth in Section 9.04(a).

       “Bridge Lender” means LEO US Holding, Inc.

      “Bridge Loan Agreement” means that certain Secured Bridge Loan Agreement, dated as
of August 30, 2023 entered into between the Company, Timber LLC and BioPharmX, as
borrowers, and LEO US Holding, as holder, as amended on October 27, 2023.

       “Bridge Loan Amount” means $6,500,000, plus any accrued and unpaid interest thereon.

       “Business” has the meaning set forth in the recitals.

       “Business Data” has the meaning set forth in Section 4.13.

       “Business Day” means a day, other than Saturday, Sunday or other day on which
commercial banks in Copenhagen, Denmark, New York, New York, or Wilmington, Delaware are
authorized or required by applicable Law to close.

       “Buyers” has the meaning set forth in the preamble.

       “Buyers’ Closing Certificate” has the meaning set forth in Section 8.03(d).

       “Buyer Material Adverse Effect” means any Effect that, individually or in the aggregate,
has had, or would reasonably be expected to have, a material adverse effect on Buyers’ ability to
consummate the transactions contemplated by this Agreement on or before the End Date or to
timely perform any of their obligations under this Agreement.

         “Clinical Data” means all original or, if originals do not exist, true, complete and accurate
copies of, data, files (including data files), reports, plans, operating records, protocols, work papers
and other documents in any form (including in paper or electronically stored formats), including
(a) clinical study and manufacturing processes records; (b) records, files (including data files) and



                                                   3
                 Case 23-11878        Doc 1     Filed 11/17/23     Page 23 of 85




documents related to research, preclinical and clinical testing and studies (including in vivo and in
vitro studies and indication development data) conducted by or on behalf of each Seller or any of
its Subsidiaries, including scientific, preclinical and clinical data, laboratory notebooks,
procedures, tests, dosage information, criteria for patient selection, safety and efficacy and study
protocols; (c) investigators brochures, and (d) all pharmacovigilance and other safety records, in
each case, in all forms, including in paper or electronically stored formats, in which they are stored
or maintained, and all data and information included or referenced therein.

       “Closing” has the meaning set forth in Section 3.01.

       “Closing Date” has the meaning set forth in Section 3.01.

       “Code” means the Internal Revenue Code of 1986, as amended.

       “Company Product” means the programs TMB-001, TMB-003, BPX-01 and BPX-04.

       “Company Product Registrations” has the meaning set forth in Section 2.01(a).

        “Company SEC Documents” means all reports, schedules, forms, statements,
certifications, prospectuses, registration statements and other documents, together with any
exhibits and schedules thereto and other information incorporated therein, required to be filed with
or furnished to the U.S. Securities and Exchange Commission by the Company.

        “Competing Transaction” means any plan, agreement or arrangement, other than this
Agreement, the effect and/or results of which involve the recapitalization or acquisition of Sellers
or of substantially all of the assets of Sellers by any Person other than Buyers.

        “Consulting Agreement” means each consulting, service provider, change in control or
other agreement between any of the Sellers, on the one hand, and any Independent Contractor, on
the other hand.

       “Contracts” means, with respect to any Person, any legally binding contract, subcontract,
agreement, lease, sublease, license, commitment, sale or purchase order, indenture, note, bond,
loan, mortgage, deed of trust, insurance policy, instrument or other arrangement, commitment or
undertaking, whether written or oral, to which such Person is a party or by which such Person or
such Person’s properties or assets are bound.

       “Copyrights” means any writings and other works (including literary, pictorial and graphic
works), whether copyrightable or not, in any jurisdiction (domestic and foreign), and any and all
copyright rights, whether registered or not, and registrations or applications for registration of
copyrights in any jurisdiction (domestic and foreign), and any renewals or extensions thereof.

        “Cure Costs” means monetary amounts that must be paid and obligations that otherwise
must be satisfied under Sections 365(b)(l)(A) and (B) of the Bankruptcy Code in connection with
the assumption and/or assignment of any Assigned Contract, as agreed upon by the parties hereto
or determined by the Bankruptcy Court pursuant to the procedures in the Bidding Procedures
Order.



                                                  4
                 Case 23-11878        Doc 1     Filed 11/17/23     Page 24 of 85




       “Designated Parties” has the meaning set forth in Section 2.01(i).

       “DIP Lender” means LEO US Holding, Inc., a Delaware corporation.

       “DIP Loan” has the meaning set forth in Section 7.11(a).

       “DIP Loan Agreement” means that certain Senior Secured Superpriority Priming Debtor-
in-Possession Credit Agreement between LEO US Holding, as lender and Sellers as borrowers, in
the form attached hereto as Exhibit A, as the same may be amended, restated, supplemented or
refinanced from time to time in accordance with the terms of this Agreement.

       “DIP Obligations” has the meaning set forth in Section 3.02(b)(i).

       “Disclosure Schedules” means the Disclosure Schedules delivered by Sellers and Buyers
concurrently with the execution and delivery of this Agreement.

       “Dollars or $” means the lawful currency of the United States.

       “Effect” means any event, state of facts, circumstance, change, occurrence, development,
condition or effect.

        “Employee” means any employee of the Business, including any individual engaged
through a Third Party professional employer organization to perform services on behalf or for the
benefit of any of the Sellers.

        “Employee Plan” means any (i) “employee benefit plan” as defined in Section 3(3) of
ERISA, (ii) compensation, employment, consulting, independent contractor, severance,
termination protection, change in control, indemnification, loan, transaction bonus, retention or
similar plan, agreement, arrangement, program or policy or (iii) other plan, agreement,
arrangement, program or policy providing for compensation, bonuses, profit-sharing, equity or
equity-based compensation or other forms of incentive or deferred compensation, vacation
benefits, insurance (including any self-insured arrangement), medical, dental, vision,
hospitalization, prescription or fringe benefits, life insurance, relocation or expatriate benefits,
perquisites, disability or sick leave benefits, employee assistance program, supplemental
unemployment benefits or post-employment or retirement benefits (including compensation,
pension, employee stock ownership, stock purchase, stock option, health, medical or insurance
benefits, and any plan maintained under Section 401(k) of the Code), in each case (A) whether or
not written, and (B) that is sponsored, maintained, administered, contributed to, required to be
contributed to or entered into by the Sellers or any of their ERISA Affiliates or for which the
Sellers or any of their Subsidiaries has or would be reasonably expected to have any current or
future liability. The term “Employee Plan” includes any PEO Plan plans, programs, policies and
arrangements sponsored or maintained by a Third Party professional employer organization in
which current or former employees, officers or directors of the Sellers or any of their ERISA
Affiliates are eligible to participate in connection with their service to the Sellers or any of their
ERISA Affiliates.




                                                  5
                 Case 23-11878        Doc 1     Filed 11/17/23     Page 25 of 85




        “Employment Agreement” means each management, employment, severance, retention,
relocation, repatriation, expatriation, change in control or similar agreement or offer letter between
any of the Sellers, on the one hand, and any current or former Employee, on the other hand.

       “ERISA” means the Employee Retirement Income Security Act of 1974.

        “ERISA Affiliate” means any person which is (or at any relevant time was or will be) a
member of a “controlled group of corporations” with, under “common control” with, or a member
of an “affiliated service group” with the Company as such terms are defined in Sections 414(b),
(c), (m) or (o) of the Code.

       “End Date” has the meaning set forth in Section 9.01(b)(ii).

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

       “Exchange Act” means the Securities Exchange Act of 1934, as amended.

       “Excluded Assets” has the meaning set forth in Section 2.02.

       “Excluded Contracts” has the meaning set forth in Section 2.02(a).

       “Excluded Liabilities” has the meaning set forth in Section 2.04.

       “Expense Reimbursement” has the meaning set forth in Section 9.04(a).

       “FCPA” has the meaning set forth in Section 4.11.

         “Final Order” means an order of the Bankruptcy Court or other court of competent
jurisdiction (a) as to which no appeal, notice of appeal, motion to amend or make additional
findings of fact, motion to alter or amend judgment, motion for rehearing or motion for new trial,
request for stay, motion or petition for reconsideration, application or request for review, or other
similar motion, application, notice or request (collectively, a “Challenge”) has been timely filed,
or, if any of the foregoing has been timely filed, it has been disposed of in a manner that upholds
and affirms the subject order in all respects without the possibility for further Challenge thereon;
(b) as to which the time for instituting or filing a Challenge shall have expired; and (c) as to which
no stay is in effect.

        “GAAP” means generally accepted accounting principles in the United States as in effect
on the date of this Agreement.

       “Governmental Authority” means any transnational, domestic or foreign federal, state,
provincial, local or other governmental, regulatory or administrative authority, department, court,
agency, board, commission or official, including any political subdivision thereof, or any other
governmental or quasi-governmental (including self-regulatory) authority or instrumentality.

       “Governmental Order” means any order, writ, judgment, injunction, decree, stipulation,
determination or award entered by or with any Governmental Authority.




                                                  6
                  Case 23-11878        Doc 1     Filed 11/17/23      Page 26 of 85




       “Independent Contractor” means any independent contractor, consultant or other service
provider (other than an employee) who provides personal services to any of the Sellers.

         “Insurance Policies” means Sellers’ commercial general liability, umbrella liability,
property, and workers compensation and employer liability policies. For the avoidance of doubt,
“Insurance Policies” does not include directors and officers, fiduciary, or employment practices
liability insurance policies.

         “Intellectual Property Rights” means any and all (i) Trademarks, (ii) Patents, (iii) Trade
Secrets, information, knowledge, experience, skills, drawings, blue prints, utility models,
technology, inventions, discoveries and improvements, (iv) Copyrights, (v) moral rights, data and
database rights, design rights, industrial property rights, publicity rights and privacy rights, (vi) all
forms and types of computer software (including source code, object code, firmware, development
tools, files, records and data and all documentation related to any of the foregoing), (vii) any other
intellectual property or proprietary rights and (viii) all rights under or relating to any of the
foregoing granted under any Contract.

        “Intellectual Property Agreements” means all Intellectual Property Rights owned by a
Third Party and licensed or sublicensed to any of the Sellers, including consent to use agreements,
settlements, coexistence agreements, covenants not to sue, waivers, releases, permissions and other
Contracts, whether written or oral, relating to any Intellectual Property Rights to which any Seller
is a party, beneficiary or otherwise bound.

        “Intellectual Property Assets” means all Intellectual Property Rights that are owned by
Sellers or held for use in the conduct of the Business as currently conducted or proposed to be
conducted, including, without limitation, all Intellectual Property Rights owned or held for use by
Sellers relating to the Company Products and the “Timber Pharmaceuticals” company name and
any underlying trademarks, whether or not registered, together with all (i) royalties, fees, income,
payments, and other proceeds now or hereafter due or payable to Sellers with respect to such
Intellectual Property Rights; and (ii) claims and causes of action with respect to such Intellectual
Property Rights, whether accruing before, on, or after the date hereof, including all rights to and
claims for damages, restitution, and injunctive and other legal or equitable relief for past, present,
or future infringement, misappropriation, or other violation thereof.

        “Intellectual Property Assignment” has the meaning set forth in Section 3.02(a)(iii).

        “Intellectual Property Registrations” means all Intellectual Property Assets owned by
Sellers that are subject to any issuance, registration, or application by or with any Governmental
Authority or authorized private registrar in any jurisdiction, including issued Patents, registered
Trademarks, domain names and Copyrights, and pending applications for any of the foregoing.

        “Inventory” has the meaning set forth in Section 2.01(e).

        “IRS” means the U.S. Internal Revenue Service.

       “IT Assets” means computers, computer software, firmware, middleware, servers,
workstations, routers, hubs, switches, data communications lines and all other information



                                                   7
                  Case 23-11878        Doc 1    Filed 11/17/23      Page 27 of 85




technology equipment, and all associated documentation owned by any of the Sellers or licensed
or leased by any of the Sellers.

       “Key Suppliers” has the meaning set forth in Section 4.16.

        “Knowledge of Sellers or Sellers' Knowledge” or any other similar knowledge
qualification, means the actual knowledge of the individuals listed in Section 1.01(a) of the
Disclosure Schedules, in each case after making reasonable inquiry.

        “Law” means any federal, state, local or foreign law, statute, code, constitution, principle
of common law, ordinance, rule, regulation, guidance, guideline, judgment, decree, injunction,
ruling, order, procedure, decision or other requirement of any Governmental Authority.

        “Leased Real Property” means all real property leased by any of the Sellers under any
Lease, together with all rights, title and interest of the Sellers in and to leasehold improvements
relating thereto, including security deposits, reserves or prepaid rents paid in connection therewith.

        “Leases” means each lease, sublease or license under which any Seller leases, subleases or
licenses any real property (whether as lessor or lessee).

       “LEO Pharma” has the meaning set forth in the preamble.

       “LEO Spiny” has the meaning set forth in the preamble.

        “LEO US Holding” means LEO US Holding, Inc., a Delaware corporation which is an
Affiliate of Buyers.

        “Liabilities” means liabilities, obligations or commitments of any nature whatsoever,
asserted or unasserted, known or unknown, absolute or contingent, accrued or unaccrued, matured
or unmatured or otherwise.

         “Lien” means, with respect to any property or asset, any mortgage, lien, license, pledge,
hypothecation, encroachment, occupancy right, preemptive right, charge, security interest,
community property interest, encumbrance or other adverse claim of any kind in respect of such
property or asset, including the interest of a vendor, lessor or other Third Party under any
conditional sale agreement, license agreement, asset purchase agreement, capital lease or other
title retention agreement relating to such property or asset.

       “Marketing Application” means a “new drug application” as defined in the FDCA and
21 C.F.R. Part 314.

       “Necessary Consent” has the meaning set forth in Section 2.06(b).

        “Patent” means any national or multinational statutory invention registrations, patents and
patent applications issued or applied for in any jurisdiction, including all certificates of invention,
provisionals, nonprovisionals, substitutions, divisionals, continuations, continuations-in-part,
reissues, renewals, extensions, supplementary protection certificates, reexaminations, patents of



                                                  8
                 Case 23-11878       Doc 1     Filed 11/17/23     Page 28 of 85




addition, utility models, inventors’ certificates and the equivalents of any of the foregoing in any
jurisdiction, and all inventions disclosed in each such registration, patent or patent application.

       “PEO Plan” means a plan, program, policy or arrangement sponsored or maintained by a
Third Party professional employer organization.

       “Permits” means each grant, license, franchise, permit, easement, variance, exception,
exemption, waiver, consent, certificate, registration, accreditation, approval, authorization,
concession, decree, confirmation, qualification or other similar authorization of any Governmental
Authority.

         “Permitted Liens” means (i) Liens for Taxes not yet due or delinquent or the validity or
amount of which is being contested in good faith by appropriate proceedings and for which
adequate reserves have been established in accordance with GAAP, (ii) materialmen’s,
mechanics’, carriers’, workers’, warehousemen’s, repairers’ and similar Liens arising in the
ordinary course of business, securing obligations as to which there is no default and which are not
yet due and payable, or the validity or amount of which is being contested in good faith by
appropriate proceedings which have the effect of preventing the forfeiture or sale of the property
subject thereto and for which adequate reserves have been established in accordance with GAAP,
(iii) Liens to secure payment of workers’ compensation, unemployment insurance, social security
or other social security legislation (other than Liens imposed by ERISA), (iv) with respect to real
property, any nonmonetary Lien or other requirement or restriction arising under any zoning,
entitlement, building, conservation restriction and other land use and environmental applicable
Law, but only if the same are not being violated by the current use of such real property or the
operation of the Business, and (v) Liens created in favor of Buyers and Affiliates of Buyers,
including, without limitation, Liens to secure payment of any obligations under the DIP Loan
Agreement or the Bridge Loan Agreement.

       “Person” means an individual, corporation, partnership, limited liability company,
association, trust or other entity or organization, including a government or political subdivision
or a Governmental Authority.

       “Personal Information” means any information relating to an identified or identifiable
individual or household, or that is otherwise regulated under applicable Law.

       “Personal Property Leases” has the meaning set forth in Section 4.09.

       “Petition Date” has the meaning set forth in Section 6.02(a).

       “Post-Closing Tax Period” has the meaning set forth in Section 2.09(c).

       “Potential Actions” has the meaning set forth in Section 2.01(i).

       “Pre-Closing Tax Period” has the meaning set forth in Section 2.09(c).

       “Previously Omitted Contract” has the meaning set forth in Section 2.05(d).

       “Previously Omitted Contract Designation” has the meaning set forth in Section 2.05(d).


                                                 9
                 Case 23-11878        Doc 1     Filed 11/17/23     Page 29 of 85




       “Previously Omitted Contract Notice” has the meaning set forth in Section 2.05(d).

       “Privacy Laws” has the meaning set forth in Section 4.13.

        “Process” or “Processing” means any operation or set of operations whether or not by
automatic means, including, but not limited to, collection, recording, organization, storage,
retention, access, adaptation, alteration, retrieval, consultation, use, disclosure, dissemination,
making available, alignment, combination, blocking, deleting, erasure, or destruction.

       “Purchase Price” has the meaning set forth in Section 2.08.

       “Purchased Assets” has the meaning set forth in Section 2.01.

       “Reference Date” means January 1, 2019.

       “Representatives” means with respect to any Person, such Person’s officers, directors,
employees, investment bankers, attorneys, accountants, consultants, agents and other advisors or
representatives.

       “Sanctions” has the meaning set forth in Section 4.11.

        “Sale Hearing” means the hearing at which the Bankruptcy Court considers approval of
the Sale Order pursuant to Sections 105, 363 and 365 of the Bankruptcy Code.

       “Sale Motion” has the meaning set forth in Section 6.02(a).

        “Sale Order” means an order entered by the Bankruptcy Court or other court of competent
jurisdiction in the form of Exhibit D attached hereto or as otherwise reasonably agreed to between
Buyers and Sellers, subject to (a) immaterial modifications or clarifications or (b) such other
changes to which Buyers and Sellers reasonably agree to in writing.

        “Security Incident” means (a) any unauthorized access, acquisition, interruption,
alteration or modification, loss, theft, corruption or other unauthorized Processing of Personal
Information or Business Data, or (b) any breach of the security of or other unauthorized access to
or use of or other compromise to the integrity or availability of the IT Assets.

        “Service Provider” means any director or officer of any of the Sellers, or any Employee
or individual Independent Contractor.

       “Seller” and “Sellers” has the meaning set forth in the preamble.

       “Seller Closing Certificates” has the meaning set forth in Section 8.02(j).

        “Seller Material Adverse Effect” means any Effect that, individually or in the aggregate,
a material adverse effect on: (i) the assets, Liabilities, business, operations, properties, condition
(financial or otherwise) or results of operations of the Business, taken as a whole; provided that,
for purposes of the foregoing clause (i), no such Effect to the extent resulting from, attributable to
or arising out of any of the following occurring after the date hereof shall be taken into account in



                                                 10
                  Case 23-11878        Doc 1     Filed 11/17/23      Page 30 of 85




determining whether a Seller Material Adverse Effect has occurred or would reasonably be
expected to occur: (A) changes in general economic conditions in the United States, (B) changes
in securities or financial market conditions in the United States, (C) changes in general conditions
in the industry in which the Sellers and their Subsidiaries operate, (D) acts of war, sabotage or
terrorism (whether the commencement or escalation thereof) or pandemics or natural disasters
involving the United States, (E) changes in general political or social conditions in the United
States, (F) changes in Laws affecting the Sellers or the Business (it being understood and agreed
that this clause (F) shall not apply with respect to any representation or warranty the purpose of
which is to address compliance with applicable Laws), (G) changes in GAAP affecting any of the
Sellers (it being understood and agreed that this clause (G) shall not apply with respect to any
representation or warranty the purpose of which is to address compliance with GAAP), (H)
changes in the trading price or trading volume of the Shares, in and of itself (it being understood
and agreed that this clause (H) shall not apply with respect to any Effects giving rise or contributing
to such change that are not otherwise excluded from this definition of Seller Material Adverse
Effect, (I) the failure to meet any internal or published budgets, projections, forecasts or predictions
of financial performance for any period, in and of itself (it being understood and agreed that this
clause (I) shall not apply with respect to any Effects giving rise or contributing to such change that
are not otherwise excluded from this definition of “Seller Material Adverse Effect”), (J) the
announcement of this Agreement or the transactions contemplated hereby in accordance with the
terms hereof (it being understood and agreed that this clause (J) shall not apply with respect to any
representation or warranty the purpose of which is to address the consequences of the execution
and delivery of this Agreement, the consummation of the transactions contemplated hereby or the
performance of obligations hereunder), (K) the sale process of the Business to the extent in
accordance with the terms of the Bidding Procedures Order; or (ii) the Sellers’ ability to
consummate the transactions contemplated by this Agreement on or before the End Date. For the
avoidance of doubt, each of the following events shall be deemed to constitute a Seller Material
Adverse Effect: (i) failure of any ongoing clinical study of a Company Product to meet its primary
endpoint, including failure of the ASCEND Study (TMB01-301) to meet its primary endpoint at
the conclusion of such study (proportion of subjects with ≥2-point improvement from Baseline in
IGA scores in the treatment area at week 12 relative to placebo) at the pre-specified significance
level of 0.01; (ii) the clinical data resulting from the ASCEND Study (TMB01-301) (including by
taking into account data integrity, data completeness, GCP compliance, and readiness of clinical
sites for inspection by applicable Governmental Authorities) is not reasonably likely to be accepted
by the U.S. Food and Drug Administration as support for a Marketing Application; (iii) the U.S.
Investigational New Drug application for TMB-001 is on clinical hold for safety reasons.

         “Subsidiary” means, with respect to any Person, any other Person of which such Person
or any of its Subsidiaries (i) is a general partner or holds a majority of the voting interests of a
partnership or (ii) holds securities or other ownership interests having ordinary voting power to
elect a majority of the board of directors or other corporate bodies performing similar functions
(or, if there are no such ownership interests having ordinary voting power, 50% or more of the
equity interests) which are at any time, directly or indirectly, owned or controlled by such Person.

       “Successful Bidder” means the prevailing party at the conclusion of the Auction.

       “Successor” has the meaning set forth in Section 9.04(b).



                                                  11
                  Case 23-11878         Doc 1      Filed 11/17/23      Page 31 of 85




        “Tangible Personal Property” has the meaning set forth in Section 2.01(f).

         “Tax” means (i) any federal, state, local, foreign or supranational income, gains, alternative
or add-on minimum tax, base erosion and anti-abuse, minimum, diverted profits, gross income,
withholding, estimated, gross receipts, sales, use, ad valorem, value added, goods and services,
transfer, franchise, fringe benefit, capital stock, profits, license, registration, payroll, social security
(or equivalent) or any other applicable social contribution, employment, unemployment, workers’
compensation, disability, excise, severance, stamp, occupation, premium, property (real, tangible
or intangible), commercial rent, financial transaction, stamp, stamp duty, environmental, windfall
profit, unclaimed property and other tax of any kind, repayments of any grants, subsidies, state aid
or similar amounts received or deemed received from any Governmental Authority, any customs
duties, escheat obligations and any other fees, contributions, governmental charges, levies, excises,
duties or assessments of any kind whatsoever in the nature of a tax, together with any interest,
penalty, inflation linkage or addition thereto imposed by applicable Law and (ii) any penalty (and
interest with respect thereto) imposed for the failure to timely file, properly to file or timely to file
any Tax Return in accordance with applicable Law.

       “Tax Law” means all applicable Laws relating to or regulating the assessment,
determination, reporting, collection or imposition of Taxes.

        “Tax Return” means any report, return, declaration, statement, information return, claim
for refund, declaration of estimated payments, voucher or other document, together with any
schedule and attachment thereto and any amendment thereof, filed or required to be filed with any
Taxing Authority in connection with Taxes, including the determination, assessment, reporting,
withholding, collection or payment of any Taxes.

       “Taxing Authority” means any Governmental Authority having jurisdiction over or
responsibility for the assessment, determination, collection or administration of Taxes or Tax Law.

        “Third Party” means any Person, including as defined in Section 13(d) of the Exchange
Act, other than Buyers or any of their Affiliates.

        “Trade Secrets” means trade secrets and all other confidential know-how and confidential
information and rights in any jurisdiction (domestic and foreign), including confidential recipes,
ideas, formulae, formulations, compositions, specifications, techniques, data, results, methods,
processes, schematics, prototypes, models, designs, customer lists and supplier lists.

        “Trademarks” means trademarks, service marks, trade names, service names, business
marks, brand names, certification marks, trade dress, logos, corporate names, trade styles, domain
names and other indications of origin, the goodwill associated with the foregoing and registrations
in any jurisdiction of, and applications (including intent-to-use applications) in any jurisdiction to
register, the foregoing, including any extension, modification or renewal of any such registration
or application.

        “Transfer Taxes” has the meaning set forth in Section 2.09(b).

        “Transferred Employees” has the meaning set forth in Section 7.04(a).



                                                    12
                 Case 23-11878        Doc 1     Filed 11/17/23     Page 32 of 85




       “WARN Act” means the federal Worker Adjustment and Retraining Notification Act of
1988, and similar state, local and foreign laws related to plant closings, relocations, mass layoffs
and employment losses.

        Section 1.02 Other Definitional and Interpretative Provisions. The words “hereof,”
“herein” and “hereunder” and words of like import used in this Agreement shall refer to this
Agreement as a whole and not to any particular provision of this Agreement. The captions herein
are included for convenience of reference only and shall be ignored in the construction or
interpretation hereof. References to Articles, Sections, Exhibits, Annexes and Schedules are to
Articles, Sections, Exhibits, Annexes and Schedules of this Agreement unless otherwise specified.
All Exhibits, Annexes and Schedules annexed hereto or referred to herein are hereby incorporated
in and made a part of this Agreement as if set forth in full herein. Any capitalized terms used in
any Exhibit, Annex or Schedule but not otherwise defined therein shall have the meaning as
defined in this Agreement. Any singular term in this Agreement shall be deemed to include the
plural, and any plural term the singular. Whenever the words “include,” “includes” or “including”
are used in this Agreement, they shall be deemed to be followed by the words “without limitation,”
whether or not they are in fact followed by those words or words of like import. “Writing,”
“written” and comparable terms refer to printing, typing and other means of reproducing words
(including electronic media) in a visible form. “Extent” in the phrase “to the extent” means the
degree to which a subject or other thing extends, and such phrase does not mean simply “if.”
References to any applicable Law shall be deemed to refer to such applicable Law as amended
from time to time and to any rules, regulations or interpretations promulgated thereunder.
References to any Contract are to that Contract as amended, modified, supplemented, extended or
renewed from time to time in accordance with the terms hereof and thereof; provided that with
respect to any Contract listed on the Disclosure Schedule, all such amendments, modifications,
supplements, extensions and renewals must also be listed in the appropriate Section thereof.
References to any Person include the successors and permitted assigns of that Person. References
from or through any date mean, unless otherwise specified, from and including or through and
including, respectively. References to “law,” “laws” or to a particular statute or law shall be
deemed also to include any applicable Law. References to “foreign” or words of similar import
shall be deemed to refer to any jurisdictions outside the United States. Unless otherwise
specifically indicated, all references to “dollars” and “$” will be deemed references to the lawful
currency of the United States of America. Unless otherwise specified, the words “made available
to Buyer” or “provided to Buyer” (or words of similar import) mean the documents that were, as
of at least two Business Days prior to the date hereof, (a) posted to the data room maintained by
the Sellers or their Representatives in connection with the transactions contemplated by this
Agreement (provided that Buyers or their Representatives had access to such documents in such
data room and such documents were not removed from such data room prior to the date hereof),
(b) otherwise provided to Buyers or their Representatives in response to a diligence request from
Buyers or their Representatives or (c) included as an exhibit to Company SEC Documents that
were filed on or after October 1, 2022.

                                        ARTICLE II
                                    PURCHASE AND SALE

        Section 2.01 Purchase and Sale of Assets. Subject to the terms and conditions set forth
herein, at the Closing, Sellers shall sell, assign, transfer, convey and deliver to Buyers, and Buyers


                                                 13
                  Case 23-11878        Doc 1     Filed 11/17/23      Page 33 of 85




shall purchase from Sellers, as determined and allocated between Buyers in their sole discretion,
free and clear of any Liens other than Permitted Liens, all of Sellers’ right, title and interest in, to
and under all of the assets, properties and rights of every kind and nature, whether real, personal
or mixed, tangible or intangible, wherever located and whether now existing or hereafter acquired
(other than the Excluded Assets), which relate to, or are used or held for use in connection with,
the Business (collectively, the “Purchased Assets”), including, without limitation, the following:

               (a)     the Company Products, including all Company Product registrations and
       related registration information (including all Permits related to the ASCEND Study
       (TMB01-301) and Investigational New Drug applications) (the “Company Product
       Registrations”);

              (b)     to the extent assignable pursuant to Sections 363 and 365 of the Bankruptcy
       Code, all Intellectual Property Assets that are owned by Sellers, including the company
       names “Timber” and “Timber Pharmaceuticals”;

              (c)    to the extent assignable pursuant to Sections 363 and 365 of the Bankruptcy
       Code, and subject to Section 2.05, all Contracts, including Intellectual Property
       Agreements, which are set forth in Section 2.01(c) of the Disclosure Schedules, and in
       connection with which an order has been entered by the Bankruptcy Court (which may be
       the Sale Order), authorizing the assumption and assignment of such Contracts by Buyers
       (the “Assigned Contracts”);

               (d)     the sale, work or purchase orders owed to trade vendors or service providers
       of the Sellers in respect of the Business that are issued in the ordinary course of business
       and outstanding as of the Closing Date, which are set forth in Section 2.01(c) and Section
       2.01(d) of the Disclosure Schedules (the “Assumed Purchase Orders”), as may be
       amended by Seller prior to Closing to reflect any such Assumed Purchase Orders that are
       entered into in the ordinary course of business after the date hereof and remain outstanding
       as of the Closing;

              (e)     all inventory, finished goods, raw materials, work in progress, packaging,
       supplies, parts and other inventories related to the Business or any Purchased Asset
       (“Inventory”);

               (f)     all furniture, fixtures, equipment, devices, machinery, tools, supplies and
       other tangible personal property related to the Business or any Purchased Asset, including,
       without limitation, the items listed in Section 2.01(f) of the Disclosure Schedules (the
       “Tangible Personal Property”);

               (g)     to the extent assignable pursuant to Sections 363 and 365 of the Bankruptcy
       Code, all Permits related to the Business which are held by Sellers and all of Sellers’
       pending applications for Permits related to the Business, including, without limitation, all
       Permits, and other applications for Permits related to the Business as currently conducted
       or to the ownership and use of the Purchased Assets (other than the Company Product
       Registrations);




                                                  14
          Case 23-11878        Doc 1     Filed 11/17/23      Page 34 of 85




       (h)     the IT Assets, including, without limitation, the items listed in Section
2.01(h) of the Disclosure Schedules;

        (i)    all rights to any Actions of any nature available to or being pursued by any
Seller to the extent related to the Business, any Purchased Assets or the Assumed
Liabilities, whether arising by way of counterclaim or otherwise, including Avoidance
Action Claims and commercial tort claims (collectively, the “Potential Actions”) solely
to the extent that such Actions and/or claims are against the following parties (each a
“Designated Party” and collectively, the “Designated Parties”): (i) any of the Sellers’
vendors, suppliers, customers or trade creditors in regards or related to the Purchased
Assets or Business, (ii) any of the Sellers’ employees and (iii) any counterparties to any
Assigned Contracts, other than the rights to Actions specifically set forth on Section 2.02(f)
of the Disclosure Schedules; provided, however, that it is understood and agreed by the
parties that Buyers will not assert or pursue any Potential Actions against any Designated
Party other than as a defense or offset against any claim or cause of actions raised or
asserted by such Designated Party;

        (j)     all prepaid expenses, credits, advance payments, security, refunds, rights of
recovery, rights of set-off, rights of recoupment, deposits, charges, sums and fees related
to the Business or any Purchased Asset including, without limitation, any such item relating
to the payment of Taxes and including, without limitation, the assets described in Section
2.01(j) of the Disclosure Schedules;

        (k)    all of Sellers’ rights under warranties, indemnities and all similar rights
against Third Parties to the extent related to any Purchased Asset;

        (l)     all rights to insurance policy proceeds available under the Insurance Policies
to the extent relating to any Purchased Asset or Assumed Liability;

         (m)     originals, or where not available, copies, of all books and records, including,
but not limited to, (i) books of account, ledgers and general, financial and accounting
records, machinery and equipment maintenance files, personnel files, lists of prospective
customers, vendors and suppliers, purchase orders and invoices, production data, quality
control records and procedures, patient complaints and inquiry files, research and
development files, product development and stability records; (ii) Clinical Data records
and data (including all correspondence and filings related to any Investigational New Drugs
and clinical trials with any Governmental Authority), and rights of reference to any Drug
Master Files; (iii) strategic plans, internal financial statements, marketing and promotional
surveys, material and research and files relating to the Business or any Purchased Asset,
(iv) all files relating to the filing, prosecution, issuance, maintenance, enforcement or
defense of any Intellectual Property Rights (including attorney-client privileged materials);
(v) records, files (including data files) and documents evidencing any Intellectual Property
Assets; and (vi) documentation covering, containing, describing, memorializing or
otherwise pertaining to or used for any exploitation activity in connection with any Product,
in all forms, including in paper or electronically stored formats, in which they are stored or
maintained, and all data and information included or referenced therein (“Books and
Records”), in each case except those (x) relating exclusively to any Excluded Asset or


                                          15
                 Case 23-11878        Doc 1    Filed 11/17/23      Page 35 of 85




       Excluded Liability, (y) relating exclusively to any Employee who is not a Transferred
       Employee, or (z) that any Seller is not permitted to transfer under applicable Law; and

               (n)     all goodwill associated with the Business or any Purchased Asset, including
       the Intellectual Property Assets.

        Section 2.02 Excluded Assets. Notwithstanding any provision of this Agreement to the
contrary, nothing herein contained will be deemed to constitute an agreement to sell, transfer,
assign or convey the Excluded Assets to Buyers, and Sellers will retain all right, title and interest
to, in and under the Excluded Assets. The term “Excluded Assets” means all assets, properties
and rights of Sellers other than the Purchased Assets. Without limiting the generality of the
foregoing, the Excluded Assets shall include the following assets:

              (a)     Contracts, including Intellectual Property Agreements, Leases and the
       Contracts set forth on Section 2.02(f) of the Disclosure Schedules, that are not Assigned
       Contracts (the “Excluded Contracts”);

               (b)     all cash and cash equivalents of Sellers;

             (c)     all deposits and prepaid charges and expenses of, and advance payments
       made by, a Seller, in each case, related to any Excluded Contract;

               (d)     all Leased Real Property;

              (e)    the corporate seals, organizational documents, minute books, stock books,
       Tax Returns, records or copies of records relevant to the taxation of Sellers, books of
       account or other records having to do with the corporate organization of Sellers and their
       Subsidiaries;

              (f)     the assets, properties and rights specifically set forth on Section 2.02(f) of
       the Disclosure Schedules;

             (g)   all equity and other ownership interests in the Company, Timber LLC and
       BioPharmX and any of their Subsidiaries;

               (h)     all Potential Actions against parties other than the Designated Parties;

               (i)     all post-petition adequate assurance deposits provided to utilities and any
       deposits provided to suppliers or service providers by a Seller on a prepetition or post-
       petition basis;

               (j)    all (i) rights to insurance policy proceeds available under the Insurance
       Policies to the extent not related to any Purchased Asset or Assumed Liability, and (ii)
       directors and officers, fiduciary, or employment practices liability insurance policies;

             (k)    all Books and Records (i) relating primarily to any Excluded Asset or
       Excluded Liability, (ii) relating primarily to any Employee who is not a Transferred
       Employee, and (iii) that any Seller is not permitted to transfer under applicable Law; and


                                                 16
                 Case 23-11878        Doc 1    Filed 11/17/23      Page 36 of 85




              (l)     the rights which accrue or will accrue to Sellers under this Agreement and
       the Ancillary Documents.

        Section 2.03 Assumed Liabilities. Subject to the terms and conditions set forth herein,
Buyers shall assume and agree to pay, perform and discharge only the following Liabilities of
Sellers (collectively, the “Assumed Liabilities”), and no other Liabilities:

              (a)     all Liabilities from the ownership or operation of the Purchased Assets by
       Buyers solely to the extent such Liabilities arise after the Closing;

               (b)    all Liabilities in respect of the Assigned Contracts but solely to the extent
       that such Liabilities thereunder arise after the Closing, were incurred in the ordinary course
       of business and do not relate to any failure to perform, improper performance, warranty or
       other breach, default or violation by Sellers on or prior to the Closing;

               (c)     the Cure Costs;

               (d)     Transfer Taxes (as defined below); and

             (e)   all Liabilities in connection with the Assumed Purchase Orders (“Assumed
       Purchase Order Liabilities”).

        Section 2.04 Excluded Liabilities. Notwithstanding anything to the contrary set forth
herein, Sellers expressly acknowledge and agree that Buyers will not assume, be obligated to pay,
perform or otherwise discharge or in any other manner be liable or responsible for any Liabilities
of Sellers, whether existing on the Closing Date or arising thereafter, including on the basis of any
Law imposing successor liability, other than the Assumed Liabilities and the obligations of Buyers
under this Agreement (all such Liabilities that Buyers are not assuming being referred to
collectively as the “Excluded Liabilities”). Without limiting the generality of the foregoing, the
Excluded Liabilities shall include, but not be limited to, the following:

               (a)     any Liabilities relating to or arising out of the Excluded Assets;

               (b)     any Liabilities under the Excluded Contracts or any other Contracts,
       including Intellectual Property Agreements, (i) which are not validly and effectively
       assigned to Buyers pursuant to this Agreement; or (ii) to the extent such Liabilities arise
       out of or relate to a breach by Sellers of such Contracts prior to Closing;

               (c)     all Liabilities with respect to the Purchased Assets and Assigned Contracts
       that arose or accrued on or prior to the Closing Date, other than Cure Costs and Assumed
       Purchase Order Liabilities set forth in Section 2.03(e);

               (d)    except as provided by Section 7.04(b), any Liabilities of Sellers with respect
       to any present or former employees, officers, directors, retirees, independent contractors or
       consultants of Sellers, including, without limitation, any Liabilities associated with any
       claims for wages or other compensation, benefits, bonuses, accrued vacation, workers'
       compensation, severance, retention, termination or other payments;



                                                 17
          Case 23-11878       Doc 1     Filed 11/17/23     Page 37 of 85




      (e)    except as provided by Section 7.04(b), any Liabilities with respect to any
Employee Plan, including any PEO Plan;

        (f)     any Liabilities to indemnify, reimburse or advance amounts to any present
or former officer, director, employee, independent contractor, consultant, or agent of
Sellers (including with respect to any breach of fiduciary obligations by same);

        (g)    any Liabilities associated with debt, loans or credit facilities of Sellers
and/or the Business owing to financial institutions;

         (h)     any accounts payable of Sellers (i) which constitute intercompany payables
owing to Affiliates of Sellers or any third parties other than those arising under the
Assumed Contracts; (ii) which constitute debt, loans or credit facilities to financial
institutions; or (iii) which did not arise in the ordinary course of business;

        (i)     any Liability for (i) Taxes of Sellers (or any stockholder or Affiliate of
Sellers), including any Taxes that arise out of the consummation of the transactions
contemplated hereby imposed by applicable Tax Law on Sellers, (ii) Taxes relating to the
Business, the Purchased Assets or the Assumed Liabilities for any Pre-Closing Tax Period;
and (iii) other Taxes of Sellers (or any stockholder or Affiliate of Sellers) of any kind or
description (including any Liability for Taxes of Sellers (or any stockholder or Affiliate of
Sellers) that become Liabilities of Buyers under any common law doctrine of de facto
merger or transferee or successor liability or otherwise by operation of contract or Law);
provided, however, that no Taxes which are to be borne by Buyers under Section 2.09(b)
shall be treated as Excluded Liabilities;

        (j)     any Liabilities in respect of any pending or threatened Action arising out of,
relating to or otherwise in respect of the operation of the Business or the Purchased Assets
to the extent such Action relates to such operation on or prior to the Closing Date; and

       (k)     any Liabilities arising out of, in respect of or in connection with the failure
by Sellers or any of their Affiliates to comply with any Law or Governmental Order.

Section 2.05 Assignment of Contracts

        (a)     Section 2.01(c) of the Disclosure Schedules sets forth a list of all Contracts
to which, to Sellers’ Knowledge, a Seller is a party and which are to be included in the
Assigned Contracts. Sellers shall make such additions or deletions to Section 2.01(c) of the
Disclosure Schedules as Buyers shall, in their sole discretion, request in writing no later
than one (1) Business Day prior to the Closing Date. Any such deleted Contract shall be
deemed to no longer be an Assigned Contract. Any Contract of Sellers that is not listed on
Section 2.01(c) of the Disclosure Schedules shall not be considered an Assigned Contract
and shall be deemed an Excluded Contract. Buyers and Sellers acknowledge and agree that
there shall be no reduction or increase in the Purchase Price if Buyers elect to add or delete
any Contracts from Section 2.01(c) of the Disclosure Schedules.

       (b)   Sellers shall take all actions reasonably required to assume and assign the
Assigned Contracts to Buyers, including using commercially reasonable efforts to facilitate


                                         18
         Case 23-11878        Doc 1     Filed 11/17/23     Page 38 of 85




any negotiations with the counterparties to such Assigned Contracts and to obtain a finding
under the Sale Order that the proposed assumption and assignment of the Assigned
Contracts to Buyers satisfy all applicable requirements of Section 365 of the Bankruptcy
Code.

         (c)    At the Closing, (i) Sellers shall, pursuant to the Sale Order and the
Assignment and Assumption Agreement(s), as applicable, assign to Buyers (the
consideration for which is included in the Purchase Price) each of the Assigned Contracts
that is capable of being assigned under applicable Law and (ii) Buyers shall assume and
discharge the Assumed Liabilities (if any) under the Assigned Contracts, pursuant to the
Assignment and Assumption Agreement(s).

        (d)     If prior to or within thirty (30) days after Closing, it is discovered that a
Contract should have been listed in Section 2.01(c) of the Disclosure Schedules but was
not so listed (any such Contract, a “Previously Omitted Contract”), Sellers shall,
promptly (but in no event later than two Business Days following the discovery thereof)
notify Buyers in writing of such Previously Omitted Contract. Buyers shall deliver written
notice to Sellers promptly thereafter, designating such Previously Omitted Contract as
“Assumed” or “Excluded” (a “Previously Omitted Contract Designation”). A Previously
Omitted Contract designated as “Excluded,” or with respect to which Buyers fail to deliver
a Previously Omitted Contract Designation, shall be an Excluded Contract. If Buyers
designate a Previously Omitted Contract as “Assumed”, Section 2.01(c) of the Disclosure
Schedules shall be amended to include such Previously Omitted Contract and Sellers shall
serve a notice (the “Previously Omitted Contract Notice”) on the counterparties to such
Previously Omitted Contract notifying such counterparties of Sellers’ intention to assign
and Buyers’ intention to assume such Previously Omitted Contract in accordance with this
Agreement. The Previously Omitted Contract Notice shall provide the counterparties to
such Previously Omitted Contract with ten Business Days to object, in writing to Sellers
and Buyers, to the assumption of their Contract. If the counterparties, Sellers and Buyers
are unable to reach a consensual resolution with respect to the objection, Sellers will use
commercially reasonable efforts to seek an expedited hearing before the Bankruptcy Court
to approve the assumption. If no objection is timely served on Sellers and Buyers, the Sale
Order shall deem such Previously Omitted Contract assumed. Sellers and Buyers shall
execute, acknowledge and deliver such other instruments and take commercially
reasonable efforts as are reasonably practicable for Buyers to assume the rights and
obligations under such Previously Omitted Contract. For the avoidance of doubt, Buyers
will be responsible for the Cure Costs, if any, of any Previously Omitted Contract that
Buyers assume.

Section 2.06 Assignment of Assets

        (a)     Buyers may, in their discretion by written notice to Sellers, designate any
of the Purchased Assets as additional Excluded Assets, and any of the Excluded Assets as
additional Purchased Assets, which notice shall set forth in reasonable detail the Purchased
Assets or Excluded Assets so designated. Buyers and Sellers acknowledge and agree that
there shall be no reduction in the Purchase Price if Buyers elect to designate any Purchased
Assets (other than Assumed Contracts) as Excluded Assets and there shall be no increase


                                         19
                  Case 23-11878        Doc 1     Filed 11/17/23      Page 39 of 85




       in the Purchase Price if Buyers elect to designate any Excluded Assets (other than Excluded
       Contracts) as Purchased Assets. Notwithstanding any other provision hereof, the Liabilities
       of Sellers under or related to any Purchased Asset excluded under this paragraph will
       constitute Excluded Liabilities.

                (b)    Notwithstanding any other provision of this Agreement to the contrary, this
       Agreement will not constitute an agreement to assign or transfer and will not effect the
       assignment or transfer of any Purchased Asset (including any Assigned Contract) if (i) (A)
       prohibited by applicable Law, (B) an attempted assignment or transfer thereof would
       reasonably likely to subject Buyers, their Affiliates or any of their respective
       Representatives to civil or criminal Liability or (C) an attempted assignment or transfer
       thereof, without the approval, authorization or consent of, or granting or issuance of any
       license or permit by, any Third Party thereto (each such action, a “Necessary Consent”),
       would constitute a breach, default or violation thereof or of any Law or in any way
       adversely affect the rights of Buyers thereunder or (ii) the Bankruptcy Court has not entered
       an order approving such assignment or transfer. In the event such assignment or transfer is
       subject to a Necessary Consent being obtained, Sellers and Buyers will use their
       commercially reasonable efforts to obtain the Necessary Consents with respect to any such
       Purchased Asset (including any Assigned Contract) for the assignment or transfer thereof
       to Buyers, as Buyers may reasonably request. If such Necessary Consent is not obtained,
       or if an attempted assignment or transfer thereof would give rise to any of the circumstances
       described in clauses (i) or (ii) of the first sentence of this section, be ineffective or would
       adversely affect the rights of Buyers to such Purchased Asset following the Closing, (x)
       Sellers and Buyers will, and will cause their respective Affiliates to, (1) use commercially
       reasonable efforts (including cooperating with one another to obtain such Necessary
       Consents, to the extent feasible) as may be necessary so that Buyers would obtain the
       benefits and assume the obligations thereunder in accordance with this Agreement, (2)
       complete any such assignments or transfers as soon as reasonably practicable, and (3) upon
       receipt of any applicable Necessary Consents, to transfer or assign the applicable Purchased
       Asset to Buyers, and (y) Sellers will, and will cause their respective Affiliates to, cooperate
       with Buyers in good faith without further consideration in any arrangement reasonably
       acceptable to Buyers and Sellers intended to provide Buyers with the benefit of any such
       Purchased Assets.

        Section 2.07 Further Conveyances and Assumptions. From time to time following the
Closing, Sellers and Buyers will, and will cause their respective Affiliates to, in each case at
Buyers’ sole cost and expense, execute, acknowledge and deliver all such further conveyances,
notices, assumptions, assignments, releases and other instruments, and will take such further
actions, as may be reasonably necessary or appropriate to assure fully to Buyers and their
successors or assigns, all of the properties, rights, titles, interests, estates, remedies, powers and
privileges intended to be conveyed to Buyers under this Agreement and to assure fully to each
Seller and its Affiliates and their respective successors and assigns, the assumption of the liabilities
and obligations intended to be assumed by Buyers under this Agreement, and to otherwise make
effective the transactions contemplated herein; provided that nothing in this section will require
Buyers or any of their Affiliates to assume any Liabilities other than the Assumed Liabilities.




                                                  20
                Case 23-11878        Doc 1     Filed 11/17/23     Page 40 of 85




       Section 2.08 Purchase Price. The purchase price for the Purchased Assets shall be the
aggregate of (i) $14,350,000 and (ii) Cure Costs (the “Purchase Price”), plus the assumption of
the Assumed Liabilities. The Purchase Price shall be paid as provided in Section 3.02(b)(i).

       Section 2.09 Certain Tax Matters.

               (a)     Buyer shall be entitled to deduct and withhold from any payments hereunder
       that they are required to deduct and withhold under any provision of Tax Law. All such
       withheld amounts that are paid over to the relevant governmental authority shall be treated
       as delivered to the Person in respect of which such withholding was imposed.

               (b)     Any sales, use, gross-receipts, excise, value-added, property, transfer, real
       estate or land transfer, documentary, stamp, registration, recording, filing, goods and
       services or other similar Taxes which may be payable by reason of the sale of the Purchased
       Assets or the assumption of the Assumed Liabilities under this Agreement or the
       transactions contemplated hereby (collectively “Transfer Taxes”), and that are not exempt
       under the Bankruptcy Code, shall be borne and timely paid (either directly to the relevant
       Tax authority or, where a Seller is required under applicable law to pay such Taxes, by
       payment to Sellers for remittance by Sellers to the relevant Tax authority) by Buyers.
       Buyers shall, at their own expense, timely file any Tax Return or other document required
       to be filed with respect to such Transfer Taxes, and Sellers shall join in the execution of
       any such Tax Return if required by Law.

                (c)     All real property, personal property and similar ad valorem Taxes, if any,
       levied with respect to the Purchased Assets for a taxable period which includes (but does
       not end on) the Closing Date (collectively, the “Apportioned Taxes”) shall be apportioned
       between Sellers and Buyers based on the number of days of such taxable period ending on
       and including the Closing Date (such portion of such taxable period, the “Pre-Closing Tax
       Period”) and the number of days of such taxable period after the Closing Date (such
       portion of such taxable period, the “Post-Closing Tax Period”). Sellers shall be
       responsible for the proportionate amount of such Apportioned Taxes that is attributable to
       the Pre-Closing Tax Period and such amount shall be an Excluded Liability, and Buyers
       shall be responsible for the proportionate amount of such Apportioned Taxes that is
       attributable to the Post-Closing Tax Period and such amount shall be an Assumed Liability.
       Any Apportioned Taxes shall be timely paid, and all applicable Tax Returns shall be timely
       filed, as provided by applicable Law. The paying party (or parties, as applicable) shall be
       entitled to reimbursement from the non-paying party (or parties, as applicable) for the non-
       paying party's (or parties’, as applicable) portion of the Apportioned Taxes in accordance
       with this section. Upon payment of any such Apportioned Taxes, the paying party (or
       parties, as applicable) shall present a statement to the non-paying party (or parties, as
       applicable) setting forth the amount of reimbursement to which the paying party (or parties,
       as applicable) is entitled under this section, together with such supporting evidence as is
       reasonably necessary to calculate the amount to be reimbursed. The non-paying party (or
       parties, as applicable) shall make such reimbursement by wire transfer in immediately
       available funds within ten days of receipt of such statement to an account designated by
       the paying party (or parties, as applicable).



                                                21
                  Case 23-11878        Doc 1     Filed 11/17/23      Page 41 of 85




               (d)     Buyers and Sellers agree to provide each other with such information and
       assistance as is reasonably requested by the other party (or parties, as applicable), including
       access to records, Tax Returns and personnel, for the preparation and filing of any Tax
       Returns or for the defense of any Tax claim or assessment, whether in connection with a
       Tax proceeding or otherwise.

               (e)     Buyers and Sellers hereby waive compliance with any bulk sales, bulk
       transfer or similar Laws in connection with the transactions provided for herein.

                                            ARTICLE III
                                             CLOSING

        Section 3.01 Closing. Subject to the terms and conditions of this Agreement, the
consummation of the transactions contemplated by this Agreement (the “Closing”) shall take place
(i) in New York at the offices of Covington & Burling LLP, The New York Times Building, 620
Eighth Avenue, New York, New York 10018 or remotely by electronic exchange of documents
and signatures (or their electronic counterparts), on the first Business Day after all of the conditions
to Closing set forth in ARTICLE VIII are either satisfied or waived (other than conditions which,
by their nature, are to be satisfied on the Closing Date, but subject to the satisfaction or waiver of
such conditions), or (ii) at such other place or time or on such other date as Sellers and Buyers may
mutually agree in writing; provided, that, unless agreed in writing by Buyers, the Closing shall not
occur before January 16, 2024. The date on which the Closing occurs is referred to in this
Agreement as the “Closing Date”.

       Section 3.02 Closing Deliverables.

               (a)     At the Closing, Sellers shall deliver to Buyers the following:

                       (i)    one or more duly executed bills of sale in form and substance
               satisfactory to Buyers (each being a “Bill of Sale”), transferring the tangible
               personal property included in the Purchased Assets to each Buyer, as applicable;

                       (ii)   one or more duly executed assignment and assumption agreements
               in form and substance satisfactory to Buyers (each being a “Assignment and
               Assumption Agreement”), effecting the assignment to and assumption by Buyers
               of the Purchased Assets and the Assumed Liabilities;

                       (iii) one or more duly executed assignments in form and substance
               satisfactory to Buyers (each being a “Intellectual Property Assignment”),
               transferring all of Sellers’ right, title and interest in and to the Intellectual Property
               Assets to Buyers;

                      (iv)   one or more duly executed powers of attorney to the extent
               reasonably necessary to effectuate the transfer of any Purchased Assets hereunder
               in form and substance satisfactory to Buyers;

                       (v)     the Seller Closing Certificates;



                                                  22
                 Case 23-11878        Doc 1    Filed 11/17/23      Page 42 of 85




                       (vi)    the Applicable Withholding Certificates;

                      (vii) the certificates of the Secretary or Assistant Secretary of each Seller
               required by Section 8.02(l) and Section 8.02(m);

                       (viii) a copy of the Sale Order as entered by the Bankruptcy Court; and

                      (ix)    such other customary instruments of transfer, assumption, filings or
               documents, in form and substance reasonably satisfactory to Buyers, as may be
               required to give effect to this Agreement.

               (b)     At the Closing, Buyers shall deliver to Sellers the following:

                       (i)    the Purchase Price, which shall be payable in the form of (a) a credit
               bid under Section 362(k) of the Bankruptcy Code in the amount of all outstanding
               obligations under the DIP Loan Agreement (the “DIP Obligations”) and (b) cash
               in the amount of the Purchase Price minus the DIP Obligations (the “Cash
               Component”), which Cash Component shall be delivered by wire transfer of
               immediately available funds to the account identified in Schedule 3.02(b)(i);

                      (ii)     all Assignment and Assumption Agreements duly executed by
               Buyers;

                       (iii)   the Buyers’ Closing Certificate;

                      (iv)   the certificates of the Secretary or Assistant Secretary of Buyers
               required by Section 8.03(e) and Section 8.03(f); and

                      (v)     such other documents or instruments as Sellers reasonably request
               and are reasonably necessary to consummate the transactions contemplated by this
               Agreement.

                                ARTICLE IV
                 REPRESENTATIONS AND WARRANTIES OF SELLERS

        Except as expressly disclosed in (a) the Company SEC Documents (other than (i) any
information that is contained in the “Risk Factors” or “Note Regarding Forward-Looking
Statements” or similar sections of such Company SEC Documents and (ii) any forward-looking
statements, or other statements that are similarly predictive or forward-looking in nature, contained
in such Company SEC Documents), or (b) the Disclosure Schedules, Sellers represent and warrant
to Buyers that the statements contained in this ARTICLE IV are true and correct as of the date
hereof.

        Section 4.01 Organization and Qualification of Sellers. Each Seller is a corporation duly
organized, validly existing and in good standing under the Laws of its respective jurisdiction of
organization and, subject to any limitations that may be imposed on such Seller as a result of filing
a petition for relief under the Bankruptcy Code, has full corporate power and authority to own,
operate or lease the properties and assets now owned, operated or leased by it and to carry on the


                                                 23
                 Case 23-11878        Doc 1     Filed 11/17/23     Page 43 of 85




Business as currently conducted. Section 4.01 of the Disclosure Schedules sets forth each
jurisdiction in which each Seller is organized and licensed or qualified to do business, and each
Seller is duly licensed or qualified to do business and is in good standing in each jurisdiction in
which the ownership of the Purchased Assets or the operation of the Business as currently
conducted makes such licensing or qualification necessary.

        Section 4.02 Authority of Sellers. Subject to entry of the Bidding Procedures Order and
Sale Order, as applicable, each Seller has the requisite corporate power and authority to enter into
this Agreement and the Ancillary Documents to which such Seller is a party, to carry out its
obligations hereunder and thereunder and to consummate the transactions contemplated hereby
and thereby. The execution and delivery by each Seller of this Agreement and any Ancillary
Document to which such Seller is a party, the performance by such Seller of its obligations
hereunder and thereunder and the consummation by such Seller of the transactions contemplated
hereby and thereby have been duly authorized by all requisite corporate or similar action on the
part of such Seller. This Agreement has been duly executed and delivered by each Seller, and
(assuming due authorization, execution and delivery by Buyers and the entry of the Sale Order)
this Agreement constitutes a legal, valid and binding obligation of each Seller enforceable against
such Seller in accordance with its terms. When each Ancillary Document to which a Seller is or
will be a party has been duly executed and delivered by such Seller (assuming due authorization,
execution and delivery by each other party thereto and the entry of the Sale Order), such Ancillary
Document will constitute a legal and binding obligation of such Seller enforceable against it in
accordance with its terms.

         Section 4.03 No Conflicts; Consents. Subject to the Sale Order having been entered, the
execution and delivery by the Sellers of this Agreement, the performance by the Sellers of their
obligations under this Agreement and the Ancillary Documents and the consummation by the
Sellers of the transactions contemplated by this Agreement and the Ancillary Documents do not
and will not (a) contravene, conflict with or result in any violation or breach of any provision of
the certificate of incorporation or bylaws or other organizational documents of such Seller; (b)
contravene, conflict with or result in a violation or breach of any provision of any applicable Law
or Governmental Order applicable to Sellers, the Business or the Purchased Assets; (c) except as
set out in Section 4.03 of the Disclosure Schedules, require any consent or other action by any
Person under, constitute a breach or default, or an event that, with or without notice or lapse of
time or both, would constitute a breach or default, under, or cause or permit the termination,
cancellation, acceleration or other change of any right or obligation or the loss of any benefit under
any Contract or Permit to which a Seller is a party or by which a Seller or the Business is bound
or to which any of the Purchased Assets are subject (including any Assigned Contract); or (d)
result in the creation or imposition of any Lien other than Permitted Liens on the Purchased Assets,.
No consent, approval, Permit, Governmental Order, declaration or filing with, or notice to, any
Governmental Authority is required by or with respect to any Seller in connection with the
execution and delivery of this Agreement or any of the Ancillary Documents and the
consummation of the transactions contemplated hereby and thereby, except to the extent required
if the Sale Order is not entered.

        Section 4.04 Title to Purchased Assets. Sellers have good and valid title to, or in the case
of leased assets, have good and valid leasehold interests in, the Purchased Assets free and clear of
all Liens except for Permitted Liens. At the Closing, Buyers will be vested with good and valid


                                                 24
                  Case 23-11878        Doc 1    Filed 11/17/23      Page 44 of 85




title to, or in the case of leased assets, good and valid leasehold interest in, such Purchased Assets,
free and clear of all Liens and Excluded Liabilities, to the fullest extent permissible under Law,
including Section 363(f) of the Bankruptcy Code.

        Section 4.05 Assets Necessary to Business. Subject to the exclusion of the Excluded
Assets, the Purchased Assets and Assumed Liabilities constitute all of the assets, properties,
licenses and Contracts necessary to conduct the Business in substantially the same manner as the
Business has been conducted prior to the date hereof, subject to ordinary wear and tear.

       Section 4.06 Intellectual Property; IT Assets.

               (a)     Section 4.06(a) of the Disclosure Schedules contains a true, correct, current
       and complete list of (i) all Intellectual Property Registrations, specifying as to each, as
       applicable: (A) the owner (or the co-owners) thereof, (B) the jurisdiction (foreign and
       domestic) in which such item is issued or registered or in which any application for
       issuance or registration has been filed, (C) the respective issuance, registration, or
       application number of such item, and (D) the date of application and issuance or
       registration of such item; (ii) all unregistered Trademarks included in the Intellectual
       Property Assets; (iii) all proprietary Software included in the Intellectual Property Assets;
       and (iv) all other Intellectual Property Rights that are used or held for use in the conduct of
       the Business as currently conducted or proposed to be conducted other than Intellectual
       Property Rights licensed by Sellers pursuant to Excluded Contracts.

               (b)    Section 4.06(b) of the Disclosure Schedules contains a correct, current and
       complete list of all Intellectual Property Agreements necessary or useful for operating the
       Business as currently conducted, specifying for each the date, title and parties thereto.
       Sellers have provided Buyers with true and complete copies (or in the case of any oral
       agreements, a complete and correct written description) of all such Intellectual Property
       Agreements, including all modifications, amendments and supplements thereto and
       waivers thereunder.

               (c)     Except as set forth in Section 4.06(c) of the Disclosure Schedules, Sellers
       are the sole, exclusive and record owners of all Intellectual Property Assets that they
       purport to own and hold all right, title and interest in and to all such Intellectual Property
       Assets, free and clear of any Lien. The Intellectual Property Assets constitute all of the
       Intellectual Property Rights necessary to, or used or held for use in, the conduct of the
       Business of the Sellers as currently conducted and as proposed by the Sellers or any of their
       Subsidiaries to be conducted. There exist no material restrictions on the disclosure, use,
       license or transfer of the Intellectual Property Assets. The consummation of the
       transactions contemplated by this Agreement will not (i) alter, encumber, impair or
       extinguish any rights of the Sellers under any Intellectual Property Assets, including any
       Intellectual Property Agreement, (ii) impair the right of Buyers to develop, use, sell, license
       or dispose of, or to bring any Action for the infringement of, any Intellectual Property
       Assets owned by Sellers or, to the extent such rights thereunder are currently held by the
       Sellers, any Intellectual Property Rights held pursuant to an Assigned Contract or (iii)
       through the operation of any Contracts to which the Sellers are a party or otherwise bound,
       encumber any of the Intellectual Property Assets.


                                                  25
          Case 23-11878        Doc 1    Filed 11/17/23      Page 45 of 85




        (d)    The Sellers have not granted any license with respect to, or authorized the
retention of any exclusive rights in, any Intellectual Property Assets.

        (e)      No funding, facilities or personnel of any Governmental Authority or any
university, college, research institute or other educational institution has been or is being
used in any material respect to create, in whole or in part, any material Intellectual Property
Assets, except for use of facilities or personnel that (i) does not result in such Governmental
Authority or educational institution obtaining ownership of, or use rights to, such
Intellectual Property Assets, and (ii) does not require or otherwise obligate the Sellers to
grant or offer to any such Governmental Authority or educational institution any license or
other right to such Intellectual Property Assets. No current or former Service Provider who
contributed to the creation or development of the Intellectual Property Assets has
performed services for a Governmental Authority or any university, college, research
institute or other educational institution related to the Business as presently conducted
during a period of time during which such Service Provider was also performing services
for the Sellers or their Affiliates.

         (f)     All of the Intellectual Property Assets that are the subject of an issued
Intellectual Property Registration are, to Seller’s Knowledge, valid and enforceable. The
Sellers have taken all necessary steps to maintain and enforce the Intellectual Property
Assets and to preserve the confidentiality of all Trade Secrets included in the Intellectual
Property Assets, including by requiring all Persons having access thereto to execute
binding, written non-disclosure agreements. All necessary registration, maintenance, and
renewal fees due in connection with the prosecution and maintenance of the Intellectual
Property Registrations have been timely paid, and all Intellectual Property Registrations
are otherwise in good standing. Sellers have provided Buyers with true and complete copies
of file histories, documents, certificates, office actions, correspondence and other materials
related to all Intellectual Property Registrations. All necessary documents, recordations,
and certificates in connection with the Intellectual Property Rights have been filed with the
relevant Patent, Copyright, Trademark or other authorities in the United States or foreign
jurisdictions, as the case may be, for the purposes of maintaining the Intellectual Property
Registrations registered in such jurisdictions. There are no actions that must be taken by
the Sellers or any of their Affiliates within 90 days of the Closing Date that, if not taken,
will result in the loss of any of the Intellectual Property Registrations, including the
payment of any registration, maintenance, or renewal fees or the filing of any responses to
U.S. Patent and Trademark Office (or equivalent authority) actions, documents,
applications or certificates for the purposes of obtaining, maintaining, perfecting or
preserving or renewing any of the Intellectual Property Registrations.

        (g)     The conduct of the Business as currently and formerly conducted and as
proposed to be conducted, including the use of the Intellectual Property Assets and the
Intellectual Property Rights licensed under the Intellectual Property Agreements in
connection with the Business, and the Company Products, processes, and services of the
Business have not infringed, contributed to the infringement of, misappropriated or
otherwise violated and will not infringe, misappropriate, or otherwise violate any
Intellectual Property Rights or other rights of any Person in any material respect. There is
no, and since the Reference Date there has been no, Action pending or, to Sellers’


                                          26
          Case 23-11878        Doc 1     Filed 11/17/23      Page 46 of 85




Knowledge, threatened against or affecting the Sellers, or affecting the conduct of the
Business as presently conducted (including the research, development and manufacture, as
applicable, of any Company Product) (i) alleging that the use of any of the Intellectual
Property Assets or any services provided, processes used or Products manufactured, used,
imported, offered for sale or sold by the Sellers do or may conflict with, misappropriate,
infringe, contribute to the infringement of or otherwise violate any Intellectual Property
Right of any Person or (ii) alleging that the Sellers or any of their Subsidiaries have
infringed, misappropriated or otherwise violated any Intellectual Property Right of any
Person. Neither the Sellers nor any of their Subsidiaries have received from any Person
any offer to license any Intellectual Property Rights in connection with any actual or
threatened claim of infringement, misappropriation or other violation of any Intellectual
Property Rights. To Seller’s Knowledge, no Person has infringed, misappropriated, or
otherwise violated any Intellectual Property Assets or the Intellectual Property Rights
licensed under the Intellectual Property Agreements.

         (h)     There is no, and since the Reference Date there has been no Action pending
or, to Sellers’ Knowledge, threatened against or affecting the Sellers or any of their
Affiliates, or affecting the conduct of the respective businesses of the Sellers or any of their
Affiliates as presently conducted (i) based upon, or challenging or seeking to deny or
restrict, any right of the Sellers or any of their Affiliates in any of the Intellectual Property
Assets, or (ii) alleging that any of the Intellectual Property Assets is invalid, unenforceable
or not infringed. To Sellers’ Knowledge, there is no information, materials, facts, or
circumstances that would render any of the Intellectual Property Assets unenforceable, or
would adversely affect any pending application for any of the Intellectual Property Assets.
Sellers are not aware of any facts or circumstances that could reasonably be expected to
give rise to any such Action. Sellers are not subject to any outstanding or prospective
Governmental Order (including any motion or petition therefor) that does or could
reasonably be expected to restrict or impair the use of any Intellectual Property Assets. To
Sellers’ Knowledge, neither the Sellers or any of their Affiliates have misrepresented, or
failed to disclose, and there are no misrepresentations of or failure to disclose, any fact or
circumstance in any application for any Intellectual Property Assets that would constitute
fraud, inequitable conduct or a misrepresentation with respect to such application or that
would otherwise affect the validity or enforceability of any such Intellectual Property
Assets.

       (i)     None of the Intellectual Property Assets owned by Sellers has been
adjudged invalid or unenforceable in whole or part, or in the case of pending Patent
applications included in the Intellectual Property Assets, have been the subject of a final
and non-appealable finding of unpatentability. All issued Patents, registered Trademarks
and registered Copyrights included in the Intellectual Property Assets are, to Sellers;
Knowledge, valid, enforceable, in full force and effect and subsisting in all material
respects.

       (j)   To Sellers’ Knowledge, none of the Intellectual Property Agreements has
been adjudged invalid or unenforceable in whole or part. All issued Patents, registered
Trademarks and registered Copyrights included in the Intellectual Property Agreements



                                           27
                 Case 23-11878        Doc 1     Filed 11/17/23     Page 47 of 85




       are, to Sellers’ Knowledge, valid, enforceable, in full force and effect and subsisting in all
       material respects.

              (k)     To Sellers’ Knowledge, no Person has infringed, misappropriated or
       otherwise violated any Intellectual Property Asset or any Intellectual Property Right
       exclusively licensed to the Sellers pursuant to an Intellectual Property Agreement.

               (l)    The Sellers and their Affiliates have taken commercially reasonable actions
       in accordance with current industry practice to maintain the confidentiality of all
       Intellectual Property Assets, the value of which to the Sellers is contingent upon
       maintaining the confidentiality thereof (including any Trade Secrets owned, used or held
       for use by the Sellers and their Affiliates), and no such Intellectual Property Assets have
       been disclosed, and access to such Intellectual Property Assets has not been provided to
       any Person, other than to Representatives of the Sellers and their Affiliates, all of whom
       are bound by written confidentiality agreements that protect such Intellectual Property
       Assets. To Sellers’ Knowledge, no Service Provider or agent of any Seller is in default or
       breach of any confidentiality or non-disclosure agreement, or any confidentiality
       provisions of any Employment Agreement or other such agreement, with the Sellers
       relating to the protection, ownership, development, use or transfer of any Intellectual
       Property Assets of the Sellers.

               (m)    To the extent that any Intellectual Property Right has been developed or
       created by a Third Party (including any current or former Service Provider) for the Sellers,
       each such Seller, as the case may be, has a written agreement with such Third Party with
       respect thereto pursuant to which such Person has agreed to hold all Intellectual Property
       Rights in confidence and to not use any such Intellectual Property Right for any purpose
       other than for the benefit of such Seller, and such Seller thereby either (i) has obtained
       ownership of and is the exclusive owner of, or (ii) has obtained a valid and unrestricted
       right to exploit, sufficient for the conduct of its business as currently conducted or as
       proposed to be conducted, such Intellectual Property Right. In each case where the Sellers
       have acquired any Intellectual Property Rights from any Person (including any Service
       Provider), such Seller has obtained a valid and enforceable assignment sufficient to
       irrevocably transfer all rights in such Intellectual Property Rights to such Seller, or
       ownership in such Intellectual Property Rights are vested in such Seller pursuant to
       applicable Law.

              (n)     The IT Assets are reasonably sufficient for the immediate and anticipated
       needs of the Business.

        Section 4.07 Assigned Contracts. Each Assigned Contract (including any Intellectual
Property Agreements included in the Purchased Assets) is in full force and effect and is a valid
and binding obligation of the Seller party thereto and, to the Knowledge of Sellers, the other parties
thereto in accordance with its terms and conditions, except as such validity and enforceability may
be limited by (a) bankruptcy, insolvency, or other similar laws affecting the enforcement of
creditors’ rights generally, (b) equitable principles of general applicability (whether considered in
a proceeding at law or in equity), and (c) the obligations to pay Cure Costs hereunder. No Seller
has received any written or oral notice of the intention of any Person to terminate any Assigned


                                                 28
                 Case 23-11878       Doc 1     Filed 11/17/23     Page 48 of 85




Contract (including any Intellectual Property Agreements included in the Purchased Assets). To
the Knowledge of Sellers, no event has occurred which, with the passage of time or the giving of
notice, or both, would constitute a default under or a violation of any Assigned Contract (including
any Intellectual Property Agreements included in the Purchased Assets) or would cause the
acceleration of any obligation of any Seller or the creation of a Lien, other than Permitted Liens,
upon any Purchased Asset. Sellers have delivered or made available to Buyers copies of all of the
Assigned Contracts (including any Intellectual Property Agreements included in the Purchased
Assets), together with all amendments, modifications or supplements thereto.

       Section 4.08 Real Property.

               (a)     Sellers do not currently own, and have not previously owned, any interest
       in real property.

        Section 4.09 Tangible Personal Property Leases. Section 4.09 of the Disclosure
Schedules sets forth all leases of personal property (“Personal Property Leases”) used in or
related to the Business. Sellers have a valid and enforceable leasehold interest under each Personal
Property Lease under which either of the Sellers is a lessee.

        Section 4.10 Inventory. The Inventory consists of a quality and quantity usable in the
ordinary course of business consistent with past practice in all material respects. All Inventory is
owned by Sellers free and clear of all Liens other than Permitted Liens. Section 4.10 of the
Disclosure Schedules sets forth a listing of the Inventory owned, in the possession or control of,
any of the Sellers, including the address at which such Inventory is located.

       Section 4.11 Compliance With Laws; Permits.

               (a)     The Sellers are, and since the Reference Date have been, in compliance in
       all material respects with all applicable Laws. Since the Reference Date, none of the Sellers
       have received any written notice of or, to Sellers’ Knowledge, is under investigation with
       respect to, any violation of any applicable Law. There is no judgment, decree, injunction,
       rule or order of any arbitrator or Governmental Authority outstanding against any of the
       Sellers that has had or would reasonably be expected to have, individually or in the
       aggregate with all other Effects, a Seller Material Adverse Effect.

               (b)     None of the Sellers, or any of their respective directors, officers,
       consultants, agents or other Persons acting for or on its behalf, has taken any action that
       would result in a violation by such Person of (i) the Foreign Corrupt Practices Act of 1977
       (15 U.S.C. §§ 78m(b), 78dd-1, 78dd-2, 78ff) (the “FCPA”) or any other applicable anti-
       corruption or anti-bribery Law, (ii) any economic sanctions administered or enforced by
       the U.S. Department of Treasury’s Office of Foreign Assets Control, the U.S. Department
       of State, Her Majesty’s Treasury or any applicable prohibited party list maintained by any
       U.S. Governmental Authority, the European Union or Her Majesty’s Treasury
       (collectively, “Sanctions”) or (iii) any applicable Law relating to export controls. The
       Company has conducted its business in compliance with the FCPA (and any state or foreign
       equivalents) any other anti-corruption applicable Law (including the U.S. federal Anti-
       Kickback Statute (42 U.S.C. § 1320a-7b), the U.S. False Claims Act (31 U.S.C. § 3729 et



                                                29
          Case 23-11878        Doc 1     Filed 11/17/23      Page 49 of 85




seq.), and any state or foreign equivalents), Sanctions and applicable Laws relating to
export controls, and, except as set forth on Section 4.11(b) of the Disclosure Schedules, the
Sellers have instituted and maintained policies and procedures designed to cause each such
Person to comply with all such laws described in this sentence.

        (c)     None of the Sellers or any of their respective directors, officers, consultants,
agents or other Persons acting for or on its behalf, is a Person that is, or is owned or
controlled by Persons that are (i) the subject of any Sanctions or (ii) located, organized or
resident in a country or region that is the subject of Sanctions.

        (d)     The Sellers hold all material Permits necessary or advisable to conduct the
Business (including, without limitation, any Investigational New Drug applications) in the
places and in such manner in which the Business is currently being conducted, and: (i) such
Permits are valid and in full force and effect and are not subject to any pending or, to
Sellers’ Knowledge, threatened Action by any Governmental Authority to suspend, cancel,
modify, terminate or revoke any such Permit; (ii) the Sellers are in compliance in all
material respects with the terms and requirements of such Permits; and (iii) the Sellers are
not in material default under, and no condition exists that with notice or lapse of time or
both would constitute a material default under or would reasonably be expected to result
in any suspension, cancellation, material modification, termination or revocation of, any
such Permit.

Section 4.12 Litigation.

        (a)    Except as set forth on Section 4.12 of the Disclosure Schedules, there is no
Action before or by any Governmental Authority or arbitrator pending or, to the
Knowledge of the Company, threatened in writing against or affecting (i) the Business, the
Purchased Assets or the Assumed Liabilities; or (ii) that challenge or seek to prevent, enjoin
or otherwise delay the transactions contemplated by this Agreement. No event has occurred
or circumstances exist that may give rise to, or serve as a basis for, any such Action.

      (b)     There are no outstanding Governmental Orders and no unsatisfied
judgments, penalties or awards against, relating to or affecting the Business.

Section 4.13 Privacy Matters.

        (a)    The Sellers are and have been in material compliance with (i) all applicable
Laws relating to privacy, data protection, information or cyber security, or the Processing
of Personal Information Processed by the Sellers in the course of the operations of the
Business (“Privacy Laws”); (ii) all privacy policies, informed consent forms and
authorizations, and other related policies and procedures established by the Sellers with
respect to privacy, data protection, information or cyber security, or the Processing of
Personal Information Processed by the Sellers in the course of the operations of the
Business; and (iii) all contractual requirements to which the Sellers are subject as it relates
to the Processing of Personal Information by the Sellers in the course of the operations of
the Business. The Sellers, as applicable, have provided all requisite notices, obtained all
required consents, and satisfied all other requirements of Privacy Laws for their Processing



                                          30
          Case 23-11878        Doc 1     Filed 11/17/23      Page 50 of 85




of Personal Information that are necessary and in connection with the consummation of the
transactions contemplated hereunder. Without limitation, the transactions to be
consummated hereunder as of the Closing Date will comply with in all material respects
with all Privacy Laws.

        (b)    Since the Reference Date, no claims, investigations, or alleged violations
have been asserted or to Sellers’ Knowledge, threatened against the Sellers (and, to Sellers’
Knowledge, no such claims, investigations, or allegations are likely to be asserted or
threatened against the Sellers and there are no facts or circumstances that are likely to form
the basis for any such claims, investigations or allegations) by any Person regarding the
Processing of Personal Information by or on behalf of the Sellers or alleging a violation of
Privacy Laws.

        (c)      The Sellers have implemented and maintained reasonable and appropriate
organizational, physical, administrative and technical measures required by Privacy Laws,
and which are consistent with the state of the art for the industry in which the Sellers
operate, to protect the confidentiality, integrity, and security of all Personal Information
and other data and information in the possession of the Sellers, in any format, or Processed
by the Sellers in the conduct of the Business (collectively, “Business Data”) and IT Assets
against unauthorized access, acquisition, interruption, alteration, modification, or use.
Without limiting the generality of the foregoing, the Sellers have implemented a
comprehensive written information security program that complies with applicable Laws
and (i) identifies internal and external risks to the security of Business Data and IT Assets;
and (ii) implements, monitors and improves adequate and effective safeguards to control
those risks. To Sellers’ Knowledge, the Sellers have not experienced (nor to Sellers’
Knowledge, have any Third Party acting on behalf of the Sellers) any actual or alleged
Security Incidents. The Sellers have not (nor have any Third Parties acting on the Sellers’
behalf) notified, or been required to notify, any Person of any Security Incident. In addition
the Sellers do not have any material data security, information security or other
technological vulnerabilities that could adversely impact the operation of relevant IT
Assets or cause a Security Incident.

Section 4.14 Employee Benefit Plans; Labor Matters.

        (a)     Section 4.14(a) of the Disclosure Schedules sets forth a true, correct and
complete list of each Employee Plan and indicates which Employee Plans are PEO Plans.
Sellers have made available to Buyers with respect to each Employee Plan that is not a
PEO Plan and to the extent the following documents with respect to an Employee Plan that
is a PEO Plan have been provided to the Sellers (which the Sellers shall use their reasonable
best efforts to obtain from the sponsor of the PEO Plan) a copy of (i) each Employee Plan
(or a description, if such plan is not written) and all amendments thereto and material
written interpretations thereof, including a copy of (if applicable) (ii) all material Contracts
including each trust, insurance or other funding arrangement, and each administrative
services agreement, each as applicable, (iii) each current summary plan description,
summary of material modifications, and summaries of benefits and coverage (if
applicable), (iv) the three most recently filed IRS Forms 5500 and accompanying schedules
and attachments thereto for each Employee Plan required to file IRS Forms 5500, (v) the


                                          31
          Case 23-11878        Doc 1     Filed 11/17/23      Page 51 of 85




most recently prepared actuarial reports and financial statements, (vi) all policies pertaining
to fiduciary liability insurance, (vii) all discrimination and qualification tests for the three
most recent plan years, (viii) all documents and correspondence relating thereto received
from or provided to the Department of Labor, the Pension Benefit Guaranty Corporation,
the IRS or any other Governmental Authority during the past three years and (ix) all current
employee handbooks, manuals, policies and procedures (including any handbook, manual,
policy or procedure provided or prepared by a professional employer organization) that
apply to any Service Provider.

        (b)    Section 4.14(b) of the of the Disclosure Schedules sets forth a true, correct
and complete list of each (i) Employment Agreement with an employee or former
employee with respect to which the Sellers have continuing obligations as of the date
hereof (other than at-will offer letters with no severance or change in control benefits or
guaranteed term or payments), (ii) Consulting Agreement pursuant to which an
Independent Contractor is entitled to receive (or is reasonably expected to be entitled to
receive) more than $50,000 during any 12-month period and (iii) restrictive covenant
Contract and indemnification Contract entered into with the Sellers’ executive officers, in
each case as in effect as of the date of this Agreement. A copy of each such Employment
Agreement, Consulting Agreement or other Contract, as the case may be, together with any
amendments thereto, has been made available to Buyers. Except as set forth on Section
4.14(b) of the Disclosure Schedules, each current and former Employee and Independent
Contractor has executed a nondisclosure and assignment-of-rights agreement for the
benefit of the Sellers, vesting all rights in work product created by such Employee or
Independent Contractor during such Person’s affiliation with the Sellers, and a copy of
each such agreement has been made available to Buyers. To Sellers’ Knowledge, no
current Employee or Independent Contractor is a party to, or is otherwise bound by, any
Contract that adversely affects the performance of such Employee or Independent
Contractor’s duties to the Sellers. The Sellers have properly classified, pursuant to the
Code and any other applicable Law, all Independent Contractors used by the Sellers, and
no such Independent Contractor has a reasonable basis for a claim for benefits available to
Employees only under any Employee Plan. The Sellers have no “leased employees” within
the meaning of Section 414(n) of the Code.

         (c)   The Sellers have made available to Buyers a true, correct and complete list
of all former Employees whose employment has been terminated within 90 days preceding
the date hereof, or whose work hours have been reduced by fifty percent (50%) or more
within six months preceding the date hereof, including for each such Person: name, site of
employment, job title, date of hire, date of employment loss, termination or layoff, if
applicable, and amount of reduction in hours for each calendar month during the six-month
period preceding the anticipated Closing Date, if applicable. To Sellers’ Knowledge, no
Employee or Independent Contractor intends to terminate his or her employment or
services with the applicable Seller.

        (d)     The Sellers have made available to Buyers a true, correct and complete list
that sets forth, as of the date hereof: (i) each current Employee, including each such
Person’s name, employer, job title, hire date, work location, current base salary or wage or
commission rate, most recent annual bonus received and current annual bonus or incentive


                                          32
          Case 23-11878        Doc 1     Filed 11/17/23      Page 52 of 85




opportunity (including performance goals and target and maximum amounts), all other
wage or compensation arrangements, fringe benefits (other than those available to all
Employees), whether part-time or full-time, status as exempt or non-exempt under the Fair
Labor Standards Act, immigration status, whether such person has entered in an
Employment Agreement, and whether such individual is in active employment or on leave,
and if on leave, the nature of such leave and the date of expected return; and (ii) each
current Independent Contractor, including each such Person’s name, location, description
of services, consulting or contracting term, consulting or contracting fee and an indication
of whether such Person has entered into a Contract with any of the Sellers. Except as set
forth on Section 4.14(d) of the Disclosure Schedules, the employment of each Employee
and the services of each Independent Contractor is terminable at will without compensation
or other penalty. The engagement of each Employee and Independent Contractor is subject
to the Laws of the United States only. The Sellers have a completed Form I-9 (Employment
Eligibility Verification) for each Employee, and to the extent required by applicable Law,
each such Form I-9 has since been updated.

         (e)     No Employee Plan is, and neither the Sellers nor any of their ERISA
Affiliates have ever sponsored, maintained, administered, or contributed to (or has had any
obligation to contribute to) or has or is reasonably expected to have any direct or indirect
liability with respect to: (i) a “defined benefit plan” ( as defined in Section 3(35) of ERISA);
(ii) a “multiemployer plan” (as defined in Sections 4001(a)(3) and 3(37)(A) of ERISA): or
(iii) a pension plan subject to Section 302 or Title IV of ERISA or Section 412 or 4971 of
the Code.

       (f)     Each Employee Plan other than a PEO Plan, and to Sellers’ Knowledge,
each Employee Plan that is a PEO Plan, has been established, maintained, funded and
administered in all material respects in compliance with its terms and with all applicable
Law, including ERISA and the Code. No Action (other than routine claims for benefits) is
pending against or involves or, to Sellers’ Knowledge, is threatened against or threatens to
involve, any Employee Plan (excluding any Action involving a PEO Plan in which the
Action does not relate to the participation of the Sellers). The Sellers have complied in all
material respects with applicable Law with respect to each plan, arrangement or policy
mandated by applicable Law (including with respect to the payment of social insurance
Taxes or similar contributions to a fund of a Governmental Authority with respect to wages
of an employee).

       (g)     The Sellers and their Subsidiaries have paid all salaries, bonuses,
commissions, wages, severance and accrued vacation pay due to Employees, and any such
amounts for any period ending on or before the Closing Date to the extent required to be
paid on or before the Closing Date.

        (h)     Except as set forth in Section 4.14(h) of the Disclosure Schedules, neither
the execution of this Agreement nor the consummation of the transactions contemplated
hereby (either alone or together with any other event) will (i) entitle any current or former
Service Provider to any payment or benefit, including any bonus, retention, severance,
retirement or job security payment or benefit, (ii) accelerate the time of payment or vesting
or trigger any payment or funding (through a grantor trust or otherwise) of compensation


                                          33
         Case 23-11878        Doc 1    Filed 11/17/23     Page 53 of 85




or benefits under, or increase the amount payable or trigger any other obligation under, any
Employee Plan, (iii) limit or restrict the right of any of the Sellers to merge, amend or
terminate any Employee Plan or (iv) result in the payment of any amount that could,
individually or in combination with any other such payment, constitute an “excess
parachute payment,” as defined in 280G(b)(1) of the Code (without regard to subsection
(b)(4) thereof).

        (i)     To the Sellers’ Knowledge, no allegations of sexual harassment or other
sexual misconduct have been made since the Reference Date against any former or current
officer of the Sellers or any of their Subsidiaries or any Employee in a managerial or
executive position. The Sellers have not entered into any settlement agreements related to
allegations of sexual harassment or misconduct by a Service Provider.

Section 4.15 Taxes.

         (a)     All material Tax Returns filed by, on behalf or in respect of the Business
have been timely filed in accordance with applicable Tax Laws and are true, correct and
complete in all material respects. Within the last three years, no Governmental Authority
has made a claim in writing that the Business or the Purchased Assets may be subject to
Taxes, or that a Tax Return related to the Business or the Purchased Assets may be required
to be filed, in a jurisdiction where no such Tax Returns have been filed.

        (b)     Subject to any obligation of Sellers under the Bankruptcy Code, and except
as set forth on Section 4.15(b) of the Disclosure Schedules, all material Taxes related to
the Business or the Purchased Assets (whether or not shown on any Tax Return) have been
timely paid in full and, where payment is not yet due, the Sellers have established an
materially adequate accrual for all Taxes through the end of the last period for which the
Sellers ordinarily record items on their books in accordance with GAAP.

       (c)     The Sellers have properly withheld, and timely paid over to the appropriate
Taxing Authority, all material Taxes required to be withheld from any payment (including
any dividend or interest payment) to any Service Provider, Employee, creditor,
stockholder, vendor or other Person and has materially complied with all record keeping
and information reporting obligation under applicable Tax Law in connection therewith.

        (d)    No extension or waiver of the statute of limitations with respect to the time
to assess Taxes related to the Business or the Purchased Assets (i) has been granted, which
grant remains in effect or (ii) has been requested, which request is currently pending.

       (e)    No Seller is a party to any Action by any Taxing Authority. There are no
Actions pending or threatened to any Seller in writing by any taxing authority related to
the Purchased Assets or the Business.

       (f)     Except as set forth on Section 4.15(f) of the Disclosure Schedules, there are
no Liens in respect of Taxes with respect to any of the Purchased Assets, except for Liens
for Taxes not yet due and payable that arise by operation of Law.

Section 4.16 Key Suppliers.


                                        34
                 Case 23-11878        Doc 1    Filed 11/17/23      Page 54 of 85




              (a)     Section 4.16 of the Disclosure Schedules sets forth a true, correct and
       complete list of the top 10 suppliers, measured by annual revenue to the Sellers, on a
       consolidated basis, during the 12-month period ended as of September 30, 2023 (“Key
       Suppliers”).

               (b)     Except as would not be material to the Sellers, taken as a whole, no Key
       Supplier has terminated, suspended, cancelled or materially and adversely modified (i) its
       business relationship with any of the Sellers or (ii) the terms of a Material Contract. None
       of the Sellers have received written notice that any such Key Supplier intends to terminate,
       suspend, cancel or materially and adversely modify its business relationship with the any
       of the Sellers or the terms of a Material Contract. As of the date of this Agreement, there
       are no unresolved material claims or disputes pending between any Seller, on the one hand,
       and any Key Supplier, on the other hand.

         Section 4.17 Insurance. The Sellers have made available to Buyers a true, correct and
complete copy of all material insurance policies and all material self-insurance programs and
arrangements relating to the Business and the Purchased Assets. As of the date of this Agreement:
(a) all such insurance policies are in full force and effect, all premiums thereon have been timely
paid or, if not yet due, accrued; (b) there is no material claim pending under the Sellers’ insurance
policies or fidelity bonds as to which coverage has been questioned, denied or disputed by the
underwriters thereof; and (c) the Sellers are in compliance in all material respects with the terms
of such policies and bonds. The Sellers have no Knowledge as of the date of this Agreement of
any threatened termination of, or material premium increase with respect to, any of such policies
or bonds.

        Section 4.18 Finders’ Fees. Except as set forth on Section 4.18 of the Disclosure
Schedules, there is no investment banker, broker, finder or other intermediary that has been
retained by or is authorized to act on behalf of the Sellers who might be entitled to any fee or
commission from any of the Sellers in connection with any of the transactions contemplated by
this Agreement.

     Section 4.19 No Other Representations and Warranties. EXCEPT FOR THE
REPRESENTATIONS AND WARRANTIES CONTAINED IN ARTICLE IV OF THIS
AGREEMENT (AS MODIFIED BY THE SELLERS’ DISCLOSURE SCHEDULES), THE
SELLERS MAKE NO EXPRESS OR IMPLIED REPRESENTATION OR WARRANTY AND
THE SELLERS HEREBY DISCLAIM ANY SUCH REPRESENTATION OR WARRANTY. IN
CONNECTION WITH BUYERS’ INVESTIGATION OF THE SELLERS, BUYERS MAY
HAVE RECEIVED FROM OR ON BEHALF OF THE SELLERS CERTAIN ESTIMATES,
PROJECTIONS AND OTHER FORECASTS AND PLANS. THE SELLERS MAKE NO
REPRESENTATIONS OR WARRANTIES WHATSOEVER WITH RESPECT TO
ESTIMATES, PROJECTIONS AND OTHER FORECASTS AND PLANS (INCLUDING THE
REASONABLENESS OF THE ASSUMPTIONS UNDERLYING ESTIMATES,
PROJECTIONS AND FORECASTS).

                                 ARTICLE V
                  REPRESENTATIONS AND WARRANTIES OF BUYER



                                                 35
                 Case 23-11878        Doc 1    Filed 11/17/23      Page 55 of 85




        Buyers represent and warrant to Sellers that the statements contained in this ARTICLE V
are true and correct as of the date hereof.

        Section 5.01 Organization of Buyers. Each Buyer is a corporation duly organized, validly
existing and in good standing under the Laws of their respective jurisdiction of organization.

        Section 5.02 Authority of Buyers. Buyers have full corporate power and authority to
execute and deliver this Agreement and the Ancillary Documents to which Buyers are a party, to
carry out their obligations hereunder and thereunder and to consummate the transactions
contemplated hereby and thereby. The execution and delivery by Buyers of this Agreement and
any Ancillary Document to which Buyers are a party, the performance by Buyers of their
obligations hereunder and thereunder and the consummation by Buyers of the transactions
contemplated hereby and thereby have been duly authorized by Buyers and no other corporate
proceedings on the part of Buyers are necessary to authorize the execution or delivery by Buyers
of this Agreement and any Ancillary Document to which Buyers are a party, the performance by
Buyers of their obligations under this Agreement and any Ancillary Document to which Buyers
are a party or the consummation by Buyers of the transactions contemplated by this Agreement
and any Ancillary Document to which Buyers are a party. This Agreement has been duly executed
and delivered by Buyers and, assuming due authorization, execution and delivery by the Sellers,
constitutes a valid and binding obligation of Buyers, enforceable against Buyers in accordance
with its terms. When each Ancillary Document to which Buyers are or will be a party has been
duly executed and delivered by Buyers (assuming due authorization, execution and delivery by
each other party thereto), such Ancillary Document will constitute a legal and binding obligation
of Buyers enforceable against them in accordance with its terms.

        Section 5.03 No Conflicts; Consents. The execution and delivery by Buyers of this
Agreement and the Ancillary Documents to which it is a party, the performance by Buyers of their
obligations under this Agreement and the Ancillary Documents to which it is a party and the
consummation by Buyers of the transactions contemplated hereby and thereby, do not and will not
(a) contravene, conflict with or result in any violation or breach of any provision of the
organizational documents of Buyers, (b) contravene, conflict with or result in a violation or breach
of any provision of any applicable Law, (c) require any consent or other action by any Person
under, constitute a default, or an event that, with or without notice or lapse of time or both, would
constitute a default, under, or cause or permit the termination, cancellation, acceleration or other
change of any right or obligation or the loss of any benefit to which Buyers are entitled under any
provision of any Contract binding on Buyers or any Permit affecting, or relating in any way to, the
assets or business of Buyers or (d) result in the creation or imposition of any Lien on any asset of
Buyers, with only such exceptions, in the case of each of clauses (c) and (d), as would not
reasonably be expected to have, individually or in the aggregate with all other Effects, a Buyer
Material Adverse Effect.

        Section 5.04 Finders’ Fees. There is no investment banker, broker, finder or other
intermediary that has been retained by or is authorized to act on behalf of Buyers who might be
entitled to any fee or commission from Buyers upon consummation of the transactions
contemplated by this Agreement.




                                                 36
                 Case 23-11878       Doc 1     Filed 11/17/23     Page 56 of 85




        Section 5.05 Available Funds. Buyers have, and at the Closing will have, funds available
that are sufficient to consummate the transactions contemplated by this Agreement and to perform
their obligations under this Agreement.

        Section 5.06 Litigation. As of the date of this Agreement, there are no proceedings
pending or, to the Knowledge of Buyers, threatened against Buyers that seeks to enjoin the
transactions contemplated by this Agreement, other than any such proceedings that have not had
and would not have a Buyer Material Adverse Effect.

         Section 5.07 Independent Investigation. Buyers acknowledge that they have conducted
to their satisfaction their own independent investigation and analysis of the Business, the
Purchased Assets and the Assumed Liabilities, and that Buyers and their Representatives have
received access to such books and records, facilities, equipment, contracts and other assets of the
Sellers that Buyers and their Representatives have desired or requested to review for such purpose,
and that Buyers and their Representatives have had a full opportunity to meet with the management
of the Company and the Company’s Subsidiaries and to discuss the business, operations, assets,
liabilities, results of operations, condition (financial or otherwise) and prospects of the Company
and the Company’s Subsidiaries.

        Section 5.08 Non-Reliance. Except for the specific representations and warranties
expressly made by the Sellers in ARTICLE IV of this Agreement, Buyers specifically disclaim
that they are relying upon or have relied upon any other representations or warranties that may
have been made by the Sellers or any other Person, and acknowledges and agrees that the Sellers
have specifically disclaimed and do hereby specifically disclaim any such other representation or
warranty made by the Sellers or any other Person.

                                    ARTICLE VI
                             BANKRUPTCY COURT MATTERS

       Section 6.01 Competing Transactions. Sellers will market the Purchased Assets as
permitted by and in accordance with the Bidding Procedures, and all obligations hereunder remain
subject to alternative bids to be submitted and considered in accordance with such Bidding
Procedures.

       Section 6.02 Bankruptcy Court Filings.

               (a)     Within one Business Day of the date hereof, Sellers shall file or cause to be
       filed a petition for relief under Chapter 11 of the Bankruptcy Code on behalf of Sellers
       with the Bankruptcy Court (the date of such petition being the “Petition Date”). No later
       than one day following the Petition Date, Sellers shall file (and, within one Business Day
       thereafter, serve) a motion or motions (the “Sale Motion”), in form and substance
       reasonably satisfactory to Buyers, in the Bankruptcy Case requesting that the Bankruptcy
       Court (i) approve the Bidding Procedures and enter the Bidding Procedures Order and (ii)
       schedule a hearing on the Sale Motion for entry of the Sale Order. Thereafter, Buyers and
       Sellers shall take all actions as may be reasonably necessary to cause the Bidding
       Procedures Order and the Sale Order to be issued, entered and become Final Orders,
       including furnishing affidavits, declarations and/or other documents or information for



                                                37
          Case 23-11878        Doc 1     Filed 11/17/23      Page 57 of 85




filing with the Bankruptcy Court. Buyers agree that they will promptly take such actions
as are reasonably requested by Sellers to assist in obtaining entry of the Sale Order and a
finding of adequate assurance of future performance by Buyers, including furnishing
affidavits or other documents or information for filing with the Bankruptcy Court for the
purposes, among others, of providing necessary assurances of performance by Buyers
under this Agreement and demonstrating that Buyers are “good faith” purchasers under
Section 363(m) of the Bankruptcy Code.

        (b)      Sellers shall provide reasonably appropriate notice of the hearings on the
Sale Motion, as is required by the Bankruptcy Code and the Federal Rules of Bankruptcy
Procedure, to all Persons entitled to notice, including all Persons that have expressed
interest in buying the Purchased Assets, all Persons that have asserted liens, claims or other
interests in the Purchased Assets, all parties to the Assigned Contracts, all applicable state
and local tax authorities, including the Internal Revenue Service, each Governmental
Authority that is an interested party with respect to the Purchased Assets and the Bidding
Procedures Order and all Tax and environmental authorities in jurisdictions applicable to
Sellers. Sellers shall be responsible for making all appropriate filings relating thereto with
the Bankruptcy Court, which filings shall be submitted to Buyers within a reasonable time
prior to their filing with the Bankruptcy Court to allow for Buyers’ prior review and
comments.

        (c)      On or before the date that is no later than two business days after entry of
the Bidding Procedures Order Sellers shall file with the Bankruptcy Court and serve an
assignment and assumption notice (the “Assignment and Assumption Notice”) by first
class mail on all non-debtor counterparties to all Contracts and provide a copy of the same
to Buyers. The Assignment and Assumption Notice shall inform each recipient that its
respective Contract may be designated by Buyers as assumed, and the timing and
procedures relating to such designation, and, to the extent applicable (i) the title of the
Contract, (ii) the name of the counterparty to the Contract, (iii) Sellers’ good faith estimates
of the Cure Costs required in connection with such Contract, (iv) the identity of Buyers
and (v) the deadline by which any such Contract counterparty may file an objection to the
proposed assumption and assignment and/or cure, and the procedures relating thereto.

        (d)    Sellers shall use their best efforts to (i) file and have entered the Bidding
Procedures Order on or before December 14, 2023, (ii) hold the Auction, unless an Auction
is not required to be held pursuant to the terms of the Bidding Procedures, on or before
January 8, 2024 and (iii) file and have entered the Sale Order on or before January 12,
2024.

        (e)     The Sellers shall consult with the Buyers regarding pleadings that they
intend to file with the Bankruptcy Court in connection with, or which might reasonably
affect the Bankruptcy Court’s approval of the Bidding Procedures Order and the Sale
Order, including, sharing in advance any drafts thereof for Buyers’ review and comment.
Each Seller shall promptly provide Buyers and their counsel with copies of all notices,
filings and orders of the Bankruptcy Court that such Seller has in its possession (or
receives) pertaining to the Sale Motion, or any other order related to any of the transactions
contemplated in this Agreement. No Seller shall seek any modification to the Bidding


                                          38
          Case 23-11878        Doc 1     Filed 11/17/23      Page 58 of 85




Procedures Order and the Sale Order by the Bankruptcy Court or any other Governmental
Authority of competent jurisdiction to which a decision relating to the Bankruptcy Case
has been appealed, in each case, without the prior written consent of Buyers.

        (f)     If the Sale Order, or any other orders of the Bankruptcy Court relating to
this Agreement or the transactions contemplated in this Agreement are appealed by any
Person (or if any petition for certiorari or motion for reconsideration, amendment,
clarification, modification, vacation, stay, rehearing or reargument shall be filed with
respect to the Bidding Procedures Order and the Sale Order, or other such order), subject
to rights otherwise arising from this Agreement, Sellers shall use their commercially
reasonable best efforts to prosecute such appeal, petition or motion, at Buyers’ sole cost
and expense, and obtain an expedited resolution of any such appeal, petition or motion, to
the extent not otherwise inconsistent with Sellers’ fiduciary duty to Sellers’ estate.

        (g)      Notwithstanding anything expressed or implied herein to the contrary, other
than in the ordinary course of business, Sellers shall not consent or agree to the allowance
of any claim to the extent it would constitute an Assumed Liability without the prior written
consent of Buyers. Each Seller shall use its best efforts to cause the Sale Order to provide
that Buyers will have standing in the Bankruptcy Case to object to the amount of any claim
to the extent it would constitute an Assumed Liability and that the Bankruptcy Court will
retain the right to hear and determine such objections.

                                   ARTICLE VII
                                   COVENANTS

Section 7.01 Conduct of Business Prior to the Closing.

       (a)     From the date hereof until the Closing, except as otherwise required,
authorized or restricted pursuant to this Agreement, the Bankruptcy Code, an order of the
Bankruptcy Court or the DIP Loan Agreement or consented to in writing by Buyers (which
shall not be unreasonably withheld, conditioned or delayed), Sellers shall conduct the
Business in the ordinary course of business consistent with past practice.

        (b)      Without limiting the generality of Section 7.01(a), from the date hereof until
the Closing Date, other than in the ordinary course of business, Sellers shall not (i) renew,
enter into, terminate amend or modify in any material respect (other than terminations in
connection with (A) an expiration or (B) a renewal that becomes automatically effective
unless a party thereto provides prior notice of an intention not to renew) any Contract or
arrangement relating to the Business or the Purchased Assets in a manner adverse to
Sellers, or (ii) waive, release or assign any material rights, claims or benefits of the Sellers,
in each case, except as otherwise required, authorized or restricted pursuant to this
Agreement, the Bankruptcy Code, an order of the Bankruptcy Court or the DIP Loan
Agreement or consented to in writing by Buyers (which shall not be unreasonably withheld,
conditioned or delayed).

      (c)    except as otherwise required, authorized or restricted pursuant to this
Agreement, the Bankruptcy Code, an order of the Bankruptcy Court or the DIP Loan



                                           39
          Case 23-11878        Doc 1    Filed 11/17/23      Page 59 of 85




Agreement or consented to in writing by Buyers (which shall not be unreasonably withheld,
conditioned or delayed), and without limiting the generality of Section 7.01(a), from the
date hereof until the Closing Date, Sellers shall:

               (i)     preserve and maintain all Permits required for the conduct of the
       Business as currently conducted or the ownership and use of the Purchased Assets
       and all applications for Permits relating to the Business or any Purchased Asset;

             (ii)    pay all post-petition obligations in compliance with and as
       contemplated by the DIP Loan Agreement;

              (iii) maintain the properties and assets included in the Purchased Assets
       in the same condition as they were on the date of this Agreement, subject to
       reasonable wear and tear;

               (iv)   continue in full force and effect all their insurance policies, other
       than such policies that expire by their terms (in which event Sellers shall use
       reasonable best efforts to renew, replace or extend such policies) or changes to such
       policies made in the ordinary course of business of Sellers in a manner that is
       consistent with past practice;

              (v)   defend and protect the properties and assets included in the
       Purchased Assets from infringement or usurpation;

              (vi)    perform their obligations under the Assigned Contracts in all
       material respects;

               (vii) maintain the Books and Records in accordance with industry best
       practice; and

             (viii) comply in all material respects with all Laws applicable to the
       conduct of the Business or the ownership and use of the Purchased Assets.

        (d)    Subject to Section 7.01(a), during the period from the date hereof until the
Closing, the Sellers shall use their reasonable best efforts to continue the ASCEND Study
(TMB01-301) as currently contemplated, including the recruitment of patients for the
Company’s ongoing clinical trial relating to the Company Product TMB-001, until the
number of randomized patients included therein amounts to one hundred twenty (120)
patients; provided that Sellers perform or continue to perform the actions set forth in
Schedule 7.01(d)(ii).

Section 7.02 Access to Information.

         (a)     From the date hereof until the earlier of the Closing Date and the termination
of this Agreement in accordance with its terms, Sellers shall (i) afford Buyers and their
Representatives reasonable access during normal business hours to the offices, properties,
facilities, assets, books, records, Service Providers and agents of the Sellers; (ii) furnish
Buyers, their Representatives with such financial and operating data and other information


                                          40
          Case 23-11878        Doc 1     Filed 11/17/23      Page 60 of 85




(including the work papers of the Sellers’ independent accountants upon receipt of any
required consents from such accountants and subject to the execution of customary access
letters) as such Persons may reasonably request related to the Business as Buyers or any of
their Representatives may reasonably request; and (iii) instruct the Service Providers and
Representatives of Sellers to cooperate with Buyers in their non-invasive investigation of
the Business; provided, that any such access shall be afforded and any such information
shall be furnished at Buyers’ expense; provided, further that the parties hereto shall act in
good faith in all respects in the performance of the obligations under this Section 7.02(a).
All access pursuant to this Section 7.02(a) shall be conducted in a manner that does not
interfere with the normal operations of Sellers in any material respect. No investigation by
Buyers or other information received by Buyers shall operate as a waiver or otherwise
affect any representation, warranty or agreement given or made by Sellers in this
Agreement. Any investigation pursuant to this Section 7.02(a) shall be conducted in such
manner as not to interfere unreasonably with the conduct of the business of the Sellers. No
information or knowledge obtained in any investigation pursuant to this Section 7.02(a)
shall affect or be deemed to modify any representation or warranty made by the Sellers
hereunder.

        (b)     The provisions of Section 7.02(a) shall not require and shall not be
construed to require Sellers to permit any access to or any inspection or review of, or to
disclose or otherwise make available, any information that (i) affording such access or
furnishing such information would result in loss of legal protection, including the attorney-
client privilege and work product doctrine; (ii) relates to the applicable portions of minutes
of the meetings of the board of directors of such Seller (including any presentations or other
materials prepared by or for the board of directors) where the board of directors discussed
the transactions contemplated by this Agreement or any similar transaction involving the
sale of any Seller, or a material portion of its assets, to, or combination of any Sellers with,
any Person; and (iii) in the reasonable judgment of any Seller based on the opinion of
outside legal counsel would (A) violate such Seller’s respective obligations with regard to
confidentiality or waive the protection of any attorney-client privilege, or (B) violate any
applicable Law. In the event that Sellers objects to any request submitted pursuant to and
in accordance with Section 7.02(a) and withholds information on the basis of any of the
foregoing clauses (i), or (ii), Sellers shall use reasonable best efforts to make appropriate
substitute arrangements to permit reasonable disclosure that does not suffer from any of
the foregoing impediments, including through the use of reasonable best efforts to
implement appropriate and mutually agreeable measures to permit the disclosure of such
information in a manner to remove the basis for the objection.

Section 7.03 Notice of Certain Events.

        (a)    From the date hereof until the Closing, Sellers and Buyers shall promptly
notify the other of:

               (i)     any fact, circumstance, event or action the existence, occurrence or
       taking of which (A) has had, or could reasonably be expected to have, individually
       or in the aggregate, a Seller Material Adverse Effect or Buyer Material Adverse
       Effect, respectively, (B) has resulted in, or could reasonably be expected to result


                                          41
         Case 23-11878        Doc 1     Filed 11/17/23     Page 61 of 85




       in, any representation or warranty made by such party hereunder not being true and
       correct or (C) has resulted in, or could reasonably be expected to result in, the
       failure of any of the conditions set forth in Section 8.02 or Section 8.03,
       respectively, to be satisfied;

              (ii)     any notice or other communication from any Person alleging that
       the consent of such Person is or may be required in connection with the transactions
       contemplated by this Agreement or the entry of the approval of any order by the
       Bankruptcy Court;

              (iii) any notice or other communication from any Governmental
       Authority in connection with the transactions contemplated by this Agreement; and

               (iv)   any Actions commenced or, to such party’s knowledge, including
       Sellers’ Knowledge, threatened against, relating to or involving or otherwise
       affecting the Business, the Purchased Assets or the Assumed Liabilities that, if
       pending on the date of this Agreement, would have been required to have been
       disclosed pursuant to Section 4.12 or that relate to the consummation of the
       transactions contemplated by this Agreement.

       (b)     Receipt of information by either party pursuant to this Section 7.03 shall not
operate as a waiver or otherwise affect any representation, warranty or agreement given or
made by either party in this Agreement and shall not be deemed to amend or supplement
the Disclosure Schedules.

Section 7.04 Employees and Employee Benefits.

        (a)     Commencing on the Closing Date, Sellers shall terminate all Employees,
and Buyers shall offer employment effective as of immediately following the Closing to
all Employees (each Employee who accepts such offer and commences employment
immediately upon the Closing being referred to herein as a “Transferred Employee,” and
collectively as, the “Transferred Employees”). Each offer of employment to the
Employees shall provide each Transferred Employee with (i) a base salary or base wages
and cash target bonus opportunity no less than the base salary or base wages and cash target
bonus opportunity of such Transferred Employee immediately prior to the Closing and (ii)
benefits that are substantially comparable in the aggregate to either (A) those offered to
similarly situated newly hired employees of Buyers or (B) those offered by Sellers to the
Transferred Employees as of immediately prior to the Closing (other than any equity or
equity-based and change in control or transaction-based compensation or benefits or
severance pay or post-employment health or welfare benefits), with the determination of
the employee benefits under clause (ii) to be made by Buyers from time to time in its sole
and absolute discretion.

       (b)     Sellers shall be solely responsible, and Buyers shall have no obligations
whatsoever for, any compensation or other amounts payable to any current or former
employee, officer, director, independent contractor or consultant of the Business,
including, without limitation, hourly pay, commission, bonus, salary, accrued vacation,



                                         42
          Case 23-11878         Doc 1     Filed 11/17/23      Page 62 of 85




fringe, pension or profit sharing benefits or severance pay under any Employee Plan for
any period relating to the service with Sellers at any time on or prior to the Closing Date
and Sellers shall pay all such amounts to all entitled persons on, prior to or promptly
following the Closing Date; provided, however, that Buyers shall, no later than two
business days following the Closing Date, either fund Seller’s liability to pay accrued
unused vacation days of Employees who terminate employment with Sellers on the Closing
Date or promptly pay such amounts to such Employees directly (subject to applicable tax
withholdings).

        (c)      Sellers shall remain solely responsible for the satisfaction of all claims for
medical, dental, life insurance, health accident or disability benefits brought by or in
respect of current or former employees, officers, directors, independent contractors or
consultants of the Business or the spouses, dependents or beneficiaries thereof, which
claims relate to events occurring on or prior to the Closing Date. Sellers also shall remain
solely responsible for all worker’s compensation claims of any current or former
employees, officers, directors, independent contractors or consultants of the Business
which relate to events occurring on or prior to the Closing Date. Sellers shall pay, or cause
to be paid, all such amounts to the appropriate persons as and when due.

        (d)      With respect to any “employee benefit plan” (as defined in Section 3(3) of
ERISA) maintained by Buyers or any of their Affiliates, but excluding (i) any retiree
healthcare or life insurance plans or programs maintained by Buyers or any of their
Affiliates, (ii) any equity compensation arrangement and (iii) any defined benefit plan
maintained by Buyers or any of their Affiliates, in each case, in which any Transferred
Employee will participate on or after the Closing Date (collectively, the “Buyer Benefit
Plans”), Buyers shall, or shall cause their Affiliates to, recognize all service with Sellers
or their Subsidiaries rendered prior to the Closing Date by Transferred Employees, for
purposes of vesting and eligibility and for purposes of determining paid time off, sick leave
and severance benefits (but not otherwise for benefit accrual purposes) under such Buyer
Benefit Plans. In no event shall anything contained in this Section 7.04(d) result in any
duplication of benefits for the same period of service.

Section 7.05 Confidentiality.

        (a)     Sellers shall, and shall cause their Affiliates to, hold, and shall use their best
efforts to cause their respective Representatives to hold, in confidence any and all
information, whether written or oral, concerning the Business, except to the extent that
Sellers can show that such information (a) is generally available to and known by the public
through no fault of Sellers, any of their Affiliates or their respective Representatives or (b)
is lawfully acquired by Sellers, any of their Affiliates or their respective Representatives
from and after the Closing from sources which are not prohibited from disclosing such
information by a legal, contractual or fiduciary obligation. Notwithstanding the foregoing,
Sellers shall be entitled to disclose (i) any information required to be disclosed by Sellers
to the Bankruptcy Court, the United States Trustee, parties in interest in the Bankruptcy




                                           43
                  Case 23-11878        Doc 1     Filed 11/17/23      Page 63 of 85




       Case, and other Persons bidding on assets of Sellers, and (ii) any information required to
       be disclosed by Sellers pursuant to any applicable Law (including the Bankruptcy Code),
       legal proceeding or Governmental Authority, provided that in each case, such disclosure
       shall be limited to the information that is so required to be disclosed and the Person(s) to
       whom such disclosure is required. Notwithstanding anything in to the contrary, unless
       disclosure is required by applicable Law, the confidentiality of any Trade Secrets of the
       Business shall be maintained for so long as such Trade Secrets continue to be entitled to
       protection as Trade Secrets of the Business.

        Section 7.06 Consents. Sellers and Buyers shall use commercially reasonable efforts to
give all notices to, and obtain all consents and approvals contemplated by this Agreement.

        Section 7.07 Books and Records. Each of the Sellers (or any subsequently appointed
bankruptcy estate representative, including a trustee, a creditor trustee or a plan administrator) and
Buyers agree that each of them shall preserve and keep the books and records held by it related to
the pre-Closing Business for a period commencing on the date hereof and ending at such date on
which an orderly wind-down of Sellers’ operations has occurred in the reasonable judgment of
Buyers and Sellers (or any subsequently appointed bankruptcy estate representative, including a
trustee, a creditor trustee or a plan administrator) and shall make such books and records available
to the other parties hereto (and permit any such other party to make extracts and copies of such
books and records at its own expense) as may be reasonably required by such other party in
connection with, among other things, any insurance claims by, legal proceedings or tax
proceedings against or governmental investigations of Sellers or Buyers or in order to enable
Sellers or Buyers to comply with their respective obligations under this Agreement and each
Ancillary Document. In the event Sellers, on the one hand, or Buyers, on the other hand, wish to
destroy such records, the relevant party shall first give twenty days' prior written notice to the other
party and such other party shall have the right at its option and expense, upon prior written notice
given within that twenty day period, to take possession of the records within thirty days after the
date of such notice.

        Section 7.08 Public Announcements. Neither Sellers nor Buyers shall issue any press
release or public announcement concerning this Agreement or the transactions contemplated
hereby without obtaining the prior written approval of the other parties hereto, unless, in the sole
judgment of Buyers or Sellers, disclosure is otherwise required by applicable Law or by the
Bankruptcy Court with respect to filings to be made with the Bankruptcy Court in connection with
this Agreement, provided that the party intending to make such release shall use its best efforts
consistent with such applicable Law or Bankruptcy Court requirement to consult with the other
parties with respect to the text thereof.

       Section 7.09 Further Assurances. Subject to the other provisions of this Agreement, each
Buyer and each Seller shall (a) take all actions reasonably necessary or appropriate to consummate
the transactions contemplated by this Agreement, (b) provide the other parties hereto with
reasonable cooperation and take such actions as such other parties may be reasonably request in
connection with the consummation of the transactions contemplated herein, and (c) use
commercially reasonable efforts to cause the fulfilment at the earliest practicable date of all of the
conditions to its obligations to consummate the transactions contemplated herein. If requested by



                                                  44
                  Case 23-11878         Doc 1     Filed 11/17/23      Page 64 of 85




Buyers, Sellers will transfer to Buyers the personnel records of any Employees who accept an offer
of post-Closing employment with Buyers.

        Section 7.10 Wrong Pockets. If following the Closing any Buyer or Seller becomes
aware that any of the Purchased Assets have not been transferred to Buyers or that any of the
Excluded Assets have been transferred to Buyers, it shall promptly notify the other and the parties
hereto shall, as soon as reasonably practicable thereafter, ensure that such property is transferred,
at the expense of the party that is seeking the assets to be transferred to it, to (i) Buyers, in the case
of any Purchased Assets which were not transferred to Buyers at or in connection with the Closing,
as such Purchased Assets are allocated between Buyers in their sole discretion, or (ii) any Seller,
in the case of any Excluded Assets which were transferred to Buyers at the Closing.

        Section 7.11 DIP Financing.

               (a)     Simultaneously with commencement of the Bankruptcy Case and pursuant
        to the DIP Loan Agreement, LEO US Holding, will, subject to Section 7.11(b) below,
        provide debtor-in-possession financing to Sellers up to a maximum new money amount of
        $7,400,000 plus the repayment and roll-up of the Bridge Loan Amount (the “DIP Loan”),
        in order to permit Sellers to continue operating the Business and pay the reasonable and
        documented out-of-pocket Third Party fees and expenses actually incurred in connection
        with the transactions contemplated herein and the Bankruptcy Case.

                (b)     The DIP Loan Agreement will become effective upon (i) approval by the
        Bankruptcy Court and (ii) satisfaction of the conditions as set forth herein and in the DIP
        Loan Agreement. If the Closing occurs, all amounts then outstanding under the DIP Loan
        Agreement shall be credited towards the Purchase Price payable by Buyers as set forth
        above. The Bidding Procedures Order shall expressly authorize and approve such credit
        bidding by the Buyers, as the designee of the DIP Lender and Bridge Lender, respectively,
        of any amounts outstanding under the DIP Loan Agreement (which amounts shall include
        the outstanding amounts under the Bridge Loan Agreement pursuant to the Roll-Up Loan
        (as defined in the DIP Loan Agreement)) pursuant to Section 363(k) of the Bankruptcy
        Code. Each Seller expressly acknowledges and agrees that Buyers may exercise such right
        to credit bid amounts owed by any Seller under the DIP Loan Agreement (which amounts
        shall include the outstanding amounts under the Bridge Loan Agreement pursuant to the
        Roll-Up Loan (as defined in the DIP Loan Agreement)) in order to effect the payment of
        the Purchase Price under this Agreement.

                (c)      The obligations of Sellers under the DIP Loan Agreement will be secured
        by a lien on substantially all of the assets of Sellers, including, without limitation, the
        Purchased Assets, under Section 364 of the Bankruptcy Code in accordance with the
        priorities set forth in the DIP Loan Agreement. In addition, the obligations of Sellers under
        the DIP Loan Agreement will be entitled to super-priority administrative claim status
        pursuant to Section 364(c)(1) of the Bankruptcy Code.

               (d)    The Bidding Procedures Order shall provide that if the Bankruptcy Court
        enters an order approving a Competing Transaction, then on the first Business Day
        following the closing of such Competing Transaction, Sellers shall pay to Buyers, in


                                                   45
                 Case 23-11878       Doc 1     Filed 11/17/23     Page 65 of 85




       accordance with wire transfer instructions provided by Buyers, from the purchase price
       received from such other Successful Bidder, an amount equal to all obligations of Sellers
       then outstanding under the DIP Loan Agreement (which shall include the outstanding
       obligations under the Bridge Loan Agreement pursuant to the Roll-Up Loan (as defined in
       the DIP Loan Agreement)), which payment shall be irrevocable and free and clear of all
       Liens. No qualified bid may contain any provision that purports to alter or restrict the
       foregoing. The Sellers shall not reduce or otherwise alter the overbidder’s deposit required
       of any qualified bidder under the Bidding Procedures or the Bidding Procedures Order
       without the prior written consent of Buyers. For the avoidance of doubt, in the event the
       overbidder’s deposit of the Successful Bidder is insufficient, as of the closing of the
       Competing Transaction, to satisfy in full all obligations owing under the DIP Loan
       Agreement, Sellers will pay the remainder of all obligations owing under the DIP Loan
       Agreement (which shall include the outstanding obligations under the Bridge Loan
       Agreement pursuant to the Roll-Up Loan (as defined in the DIP Loan Agreement)) in full
       as promptly as possible, including by directing the Successful Bidder, in accordance with
       the Sale Order, to pay the proceeds of the sale to the Successful Bidder directly the DIP
       Lender and/or Bridge Lender, as applicable, in satisfaction of such obligations.

         Section 7.12 No Successor Liability. The parties hereto intend that, except where
expressly prohibited under applicable Law (including under Section 363 of the Bankruptcy Code),
upon the Closing, the Buyers shall not be deemed to: (i) be the successor of any Seller, (ii) have,
de facto, or otherwise, merged with or into any Seller, (iii) be a mere continuation or substantial
continuation of any Seller or the enterprise(s) of any Seller, or (iv) be liable for any acts or
omissions of any Seller in the conduct of the Business or arising under or related to the Purchased
Assets other than as set forth in this Agreement. Without limiting the generality of the foregoing,
and except as otherwise provided in this Agreement, the parties hereto intend that Buyers shall not
be liable for any Lien (other than Assumed Liabilities and Permitted Liens) against any Seller or
any of such Seller's predecessors or Affiliates, and Buyers shall have no successor or vicarious
liability of any kind or character whether known or unknown as of the Closing Date, whether now
existing or hereafter arising, or whether fixed or contingent, with respect to the Business, the
Purchased Assets or any Liabilities of any Seller arising prior to the Closing Date. The Parties
agree that the provisions substantially in the form of this section shall be reflected in the Sale
Order.

        Section 7.13 Name Change. Promptly following the Closing, the Sellers shall and shall
cause each of their Affiliates that has a name that includes the words “Timber”, “Timber
Pharmaceuticals” or any derivatives thereof, to file the necessary documentation in their respective
jurisdiction of formation and any jurisdiction where they are registered to do business to amend
their Organizational Documents to change the name of each Seller or such Affiliate to a name that
does not include the words “Timber”, “Timber Pharmaceuticals” or any derivatives thereof or any
other similar name

                                      ARTICLE VIII
                                 CONDITIONS TO CLOSING




                                                46
                 Case 23-11878       Doc 1     Filed 11/17/23     Page 66 of 85




       Section 8.01 Conditions to Obligations of All Parties. The obligations of each party
hereto to consummate the transactions contemplated by this Agreement shall be subject to the
fulfilment, at or prior to the Closing, of each of the following conditions:

              (a)     No Governmental Authority shall have enacted, issued, promulgated,
       enforced or entered any Governmental Order which is in effect and has the effect of making
       the transactions contemplated by this Agreement illegal, otherwise restraining or
       prohibiting consummation of such transactions or causing any of the transactions
       contemplated hereunder to be rescinded following completion thereof.

               (b)     The Bankruptcy Court shall have entered the Bidding Procedures Order and
       the Sale Order and each of such orders shall be a Final Order providing for a sale of the
       Purchased Assets free and clear of any Liens and in form and substance reasonably
       satisfactory to Sellers and Buyers, which orders shall not have been reversed, modified,
       amended or stayed.

       Section 8.02 Conditions to Obligations of Buyers. The obligations of Buyers to
consummate the transactions contemplated by this Agreement shall be subject to the fulfilment or
Buyers’ waiver, at or prior to the Closing, of each of the following conditions:

              (a)    Sellers shall have complied with the sale process deadlines set forth in the
       Bidding Procedures Order (as may be modified pursuant to the terms of the Bidding
       Procedures and Bidding Procedures Order).

                (b)     Sellers shall have delivered to Buyers a copy of the Sale Order and copies
       of all affidavits of service of the Sale Motion or notice of such motion filed by or on behalf
       of Sellers.

                (c)     The representations and warranties made by Sellers in this Agreement or in
       any Ancillary Document, other than those set forth in Section 4.05, shall be true and correct
       in all respects, in each case as of the date hereof and as of the Closing Date, with the same
       force and effect as though all such representations and warranties had been made as of the
       Closing Date (other than representations and warranties that by their terms address matters
       only as of another specified date, which shall be so true and correct only as of such other
       specified date), except where the failure of such representations and warranties to be true
       and correct would not, individually or in the aggregate, have a Seller Material Adverse
       Effect, and the representations and warranties made by Sellers set forth in Section 4.05,
       shall be true and correct in all material respects, in each case as of the date hereof and as
       of the Closing Date, with the same force and effect as though all such representations and
       warranties had been made as of the Closing Date.

               (d)   Sellers shall have duly performed and complied in all material respects with
       all agreements, covenants and conditions required by this Agreement and each of the
       Ancillary Documents to be performed or complied with by them prior to or on the Closing
       Date.

             (e)     No Action shall have been commenced against Buyers or Sellers which
       would prevent the Closing. No injunction or restraining order shall have been issued by


                                                47
          Case 23-11878       Doc 1     Filed 11/17/23     Page 67 of 85




any Governmental Authority, and be in effect, which restrains or prohibits any transaction
contemplated hereby.

       (f)    All approvals, consents and waivers that are listed on Section 8.02(f) of the
Disclosure Schedules shall have been received, and executed counterparts thereof shall
have been delivered to Buyers at or prior to the Closing.

        (g)    From the date of this Agreement, there shall not have occurred any Seller
Material Adverse Effect, nor shall any event or events have occurred that, individually or
in the aggregate, with or without the lapse of time, could reasonably be expected to result
in a Seller Material Adverse Effect.

       (h)      Each of John Koconis, Jessica Bruno-Raiz, Stephen Lombardi and David
McAuley shall have entered into an employment or consultancy agreement with Buyers or
an Affiliate of Buyers on terms mutually acceptable to Buyers and such individuals.

        (i)     The Company Product Registrations shall have been assigned or
transferred, as applicable, to Buyers.

        (j)    All Liens relating to the Purchased Assets shall have been released in full,
other than Permitted Liens, pursuant to the Sale Order.

        (k)     Buyers shall have received a certificate from each Seller, dated the Closing
Date and signed by a duly authorized officer of each Seller, that each of the conditions set
forth in Section 8.02(c) and Section 8.02(d) have been satisfied (the “Seller Closing
Certificates”).

       (l)      Buyers shall have received a certificate of the Secretary or an Assistant
Secretary (or equivalent officer) of each Seller certifying that attached thereto are true and
complete copies of all resolutions adopted by the board of directors of such Seller
authorizing the execution, delivery and performance of this Agreement and the Ancillary
Documents and the consummation of the transactions contemplated hereby and thereby,
and that all such resolutions are in full force and effect and are all the resolutions adopted
in connection with the transactions contemplated hereby and thereby.

        (m)     Buyers shall have received a certificate of the Secretary or an Assistant
Secretary (or equivalent officer) of each Seller certifying the names and signatures of the
officers of such Seller authorized to sign this Agreement, the Ancillary Documents and the
other documents to be delivered hereunder and thereunder.

        (n)    Buyers shall have received an Applicable Withholding Certificate with
respect to each Seller.

        (o)      Sellers shall have delivered to Buyers such other documents and deliveries
as set forth in Section 3.02(a).




                                         48
                 Case 23-11878        Doc 1    Filed 11/17/23      Page 68 of 85




        Section 8.03 Conditions to Obligations of Sellers. The obligations of Sellers to
consummate the transactions contemplated by this Agreement shall be subject to the fulfillment or
Sellers’ waiver, at or prior to the Closing, of each of the following conditions:

               (a)    The representations and warranties made by Buyers in this Agreement or
       any Ancillary Document shall be true and correct in all respects, in each case as of the date
       hereof and as of the Closing Date, with the same force and effect as though all such
       representations and warranties had been made as of the Closing Date (other than
       representations and warranties that by their terms address matters only as of another
       specified date, which shall be so true and correct only as of such other specified date),
       except where the failure of such representations and warranties to be true and correct would
       not have a Buyer Material Adverse Effect.

               (b)   Buyers shall have duly performed and complied in all material respects with
       all agreements, covenants and conditions required by this Agreement and each of the
       Ancillary Documents to be performed or complied with by them prior to or on the Closing
       Date.

               (c)    No injunction or restraining order shall have been issued by any
       Governmental Authority, and be in effect, which restrains or prohibits any material
       transaction contemplated hereby.

               (d)   Sellers shall have received a certificate, dated the Closing Date and signed
       by a duly authorized officer of Buyers, that each of the conditions set forth in Section
       8.03(a) and Section 8.03(b) have been satisfied (the “Buyers’ Closing Certificate”).

              (e)     Sellers shall have received a certificate of the Secretary or an Assistant
       Secretary (or equivalent officer) of Buyers certifying that attached thereto are true and
       complete copies of all resolutions adopted by the board of directors of Buyers authorizing
       the execution, delivery and performance of this Agreement and the Ancillary Documents
       and the consummation of the transactions contemplated hereby and thereby, and that all
       such resolutions are in full force and effect and are all the resolutions adopted in connection
       with the transactions contemplated hereby and thereby.

               (f)   Sellers shall have received a certificate of the Secretary or an Assistant
       Secretary (or equivalent officer) of Buyers certifying the names and signatures of the
       officers of Buyers authorized to sign this Agreement, the Ancillary Documents and the
       other documents to be delivered hereunder and thereunder.

               (g)    Buyers shall have delivered such other documents and deliveries set forth
       in Section 3.02(b).

                                         ARTICLE IX
                                        TERMINATION

       Section 9.01 Termination. This Agreement may be terminated at any time prior to the
Closing:



                                                 49
          Case 23-11878        Doc 1     Filed 11/17/23      Page 69 of 85




       (a)     by the mutual written consent of Sellers and Buyers;

       (b)     by Buyers by written notice to Sellers if:

               (i)    Buyers are not then in material breach of any provision of this
       Agreement and there has been a breach, inaccuracy in or failure to perform any
       representation, warranty, covenant or agreement made by any Seller pursuant to
       this Agreement that would give rise to the failure of any of the conditions specified
       in ARTICLE VIII and such breach, inaccuracy or failure is incapable of being cured
       by the End Date (as defined below) or if curable by the End Date, has not been
       cured by a Seller within the earlier of (A) fifteen days of such Seller's receipt of
       written notice of such breach from Buyers or (B) five Business Days prior to the
       End Date; or

               (ii)   the Closing has not occurred on or before February 15, 2024 (the
       “End Date”), unless the failure to close by such date shall be due to the failure of
       Buyers to perform or comply with any of the covenants, agreements or conditions
       hereof to be performed or complied with by Buyers prior to the Closing;

       (c)     by any Seller by written notice to Buyers if:

               (i)     such Seller is not then in material breach of any provision of this
       Agreement and there has been a breach, inaccuracy in or failure to perform any
       representation, warranty, covenant or agreement made by Buyers pursuant to this
       Agreement that would give rise to the failure of any of the conditions specified in
       ARTICLE VIII and such breach, inaccuracy or failure is incapable of being cured
       by the End Date or if curable by the End Date, has not been cured by Buyer within
       the earlier of (A) fifteen days of Buyers’ receipt of written notice of such breach
       from such Seller or (B) five Business Days prior to the End Date; or

               (ii)     the Closing has not occurred on or before the End Date, unless such
       failure shall be due to the failure of such Seller to perform or comply with any of
       the covenants, agreements or conditions hereof to be performed or complied with
       by it prior to the Closing;

       (d)     by Buyers or any Seller in the event that (i) there shall be any Law that
makes consummation of the transactions contemplated by this Agreement illegal or
otherwise prohibited or (ii) any Governmental Authority shall have issued a Governmental
Order restraining or enjoining the transactions contemplated by this Agreement, and such
Governmental Order shall have become final and non-appealable;

        (e)      by Buyers, if (i) any Seller or any Affiliate of Seller takes material steps in
furtherance of, or does not use commercially reasonable efforts to oppose any other Person
in seeking, an order of the Bankruptcy Court dismissing the Bankruptcy Case or converting
it to a petition for relief under Chapter 7 of the Bankruptcy Code, (ii) any Seller or any
Affiliate of Sellers takes material steps in furtherance of, or does not use commercially
reasonable efforts to oppose any other Person in seeking, the entry of an order by the
Bankruptcy Court appointing a trustee in the Bankruptcy Case or an examiner with


                                          50
          Case 23-11878        Doc 1     Filed 11/17/23      Page 70 of 85




enlarged powers relating to the operation of the Business, (iii) the Bankruptcy Court enters
a Final Order identified in clauses (i) or (ii) above, or (iv) the Bankruptcy Court enters an
order pursuant to Section 362 of the Bankruptcy Code lifting the automatic stay with
respect to any material Purchased Assets and allowing such assets to be foreclosed on or
otherwise seized by a Third Party;

        (f)     by Buyers, if (i) following entry by the Bankruptcy Court of the Bidding
Procedures Order, such order is (A) materially amended, modified or supplemented
without Buyers’ prior written consent or (B) voided, reversed or vacated or is subject to a
stay such that the Bidding Procedures Order is not in full force and effect as of the date set
forth in Section 9.01(g) below or (ii) following entry by the Bankruptcy Court of the Sale
Order, the Sale Order is (A) materially amended, modified or supplemented in any way
without Buyers’ prior written consent or (B) voided, reversed or vacated or is subject to a
stay such that the Sale Order is not in full force and effect as of the date set forth in Section
9.01(g) below;

       (g)     by Buyers, if the Bankruptcy Court shall not have entered the Bidding
Procedures Order on or before December 14, 2023; provided that Buyers shall not be able
to terminate this Agreement pursuant to this Section 9.01(g) if, prior to such termination,
the Bankruptcy Court shall have entered the Bidding Procedures Order;

       (h)    by Buyers, if the Bankruptcy Court shall not have entered the Sale Order on
or before January 12, 2024 or following entry thereof such order shall have been voided,
reversed, vacated or made subject to a stay; provided that Buyers shall not be able to
terminate this Agreement pursuant to this section if, prior to such termination, the
Bankruptcy Court shall have entered the Sale Order or the Sale Order is a Final Order, as
applicable;

        (i)     by Buyers, if the Bidding Procedures Order is entered by the Bankruptcy
Court and (i) the Auction is not held on or before January 8, 2024, unless an Auction is not
required to be held pursuant to the terms of the Bidding Procedures or (ii) the Sale Hearing
is not held on or before January 12, 2024; provided that Buyers shall not be able to
terminate this Agreement pursuant to this section if, prior to such termination, the Auction
or Sale Hearing shall have been held, as applicable;

      (j)       by Buyers, if Sellers withdraw or seek authority to withdraw the Sale
Motion;

        (k)    by Buyers, if Buyers are not selected as Successful Bidder or Backup Bidder
at the conclusion of the Auction;

       (l)    by Buyers, if, under Section 363(k) of the Bankruptcy Code, Buyers are
disallowed from providing a credit bid (or otherwise bidding on such other terms as may
be agreed by Buyers in their sole discretion) as contemplated by this Agreement in
connection with the Purchase Price;

      (m)    by Buyers, if Buyers are selected as Backup Bidder pursuant to the Bidding
Procedures and Sellers fail to provide notice to Buyers, on or before the Backup Bid


                                           51
                 Case 23-11878        Doc 1    Filed 11/17/23      Page 71 of 85




       Outside Date, that Sellers have terminated any Competing Transaction and that the Sellers
       have elected to complete the transactions contemplated by this Agreement;

               (n)     automatically, upon the consummation of a Competing Transaction; or

             (o)   by Buyers, upon the occurrence of any “Event of Default” under the DIP
       Loan Agreement that has not been cured (if susceptible to cure under the terms of the DIP
       Loan Agreement) or waived by the DIP Lender in accordance with the terms of the DIP
       Loan Agreement.

        Section 9.02 Backup Bidder. If an Auction is conducted, and Buyers are not the
Successful Bidder, Buyers shall, if their bid is determined to be the next highest bid, be selected
as Backup Bidder. If Buyers are selected as Backup Bidder, Buyers agree to serve as Backup
Bidder until February 15, 2024 (as such date may be extended in accordance with this Section
9.02, the “Backup Bid Outside Date”); provided, however that the Backup Bidder may, in their
sole and absolute discretion, extend the Backup Bid Outside Date by giving written notice to
Sellers at least two (2) Business Days before the Backup Bid Outside Date (or before the end of
any applicable extension thereof) of the new Backup Bid Outside Date. Subject to the terms of
the Sale Order, following the Sale Hearing and prior to the Backup Bid Outside Date, if the
Successful Bidder fails to consummate the applicable Competing Transaction as a result of a
breach or failure to perform on the part of such Successful Bidder, the Buyers as Backup Bidder
will be deemed to have the new prevailing bid, and Sellers will be authorized, without further order
of the Bankruptcy Court, but subject to the Sale Order, to consummate the transactions
contemplated by this Agreement on the terms and conditions set forth in this Agreement.

         Section 9.03 Effect of Termination. In the event of the termination of this Agreement in
accordance with this Article, this Agreement shall forthwith become void and there shall be no
liability on the part of any party hereto except:

               (a)     as set forth in this ARTICLE IX and ARTICLE X hereof;

              (b)     that nothing herein shall relieve any party hereto from liability for any
       breach of any provision hereof.

       Section 9.04 Breakup Fee; Expense Reimbursement.

               (a)     If this Agreement is terminated pursuant to the consummation of a
       Competing Transaction and Buyers are not otherwise in breach of their obligations under
       this Agreement, the Bidding Procedures Order, the DIP Loan Agreement or the Sale Order,
       then, in such case, Sellers shall, jointly and severally, without the requirement of any notice
       or demand from Buyers or any application to or order of the Bankruptcy Court, promptly,
       but in no event later than three Business Days after the date of the consummation of such
       Competing Transaction, pay or cause to be paid to Buyers (i) all reasonable out-of-pocket
       and documented fees and expenses (including reasonable attorneys’ fees and expenses)
       incurred by Buyers in connection with or related to Buyers’ evaluation, consideration,
       analysis, negotiation, and documentation of this Agreement or the transactions
       contemplated herein (the “Expense Reimbursement”) and (ii) a fee in an amount equal to
       2.5% of the cash portion of the Purchase Price (the “Breakup Fee”) in addition to the


                                                 52
          Case 23-11878        Doc 1    Filed 11/17/23      Page 72 of 85




Expense Reimbursement, in each case by wire transfer of immediately available funds to
such account or accounts as may be specified in a written notice by Buyers given to Sellers;
provided, however that the Breakup Fee and Expense Reimbursement, in the aggregate,
shall not exceed an amount equal to 3.5% of the cash portion of the Purchase Price. The
Expense Reimbursement and the Breakup Fee shall, pursuant to the Bidding Procedures
Order, constitute allowed administrative expenses of Sellers’ estates under Section 503(b)
of the Bankruptcy Code; provided, however, that notwithstanding any provision of this
Agreement to the contrary, the Expense Reimbursement and Breakup Fee shall be payable
only from the proceeds of a Competing Transaction. The Bidding Procedures Order shall
provide for the payment by Sellers of the Breakup Fee and Expense Reimbursement (prior
to the repayment of the obligations owed on account of any prepetition secured financing)
as and when such amounts are due and payable hereunder.

        (b)     Each of the parties to this Agreement acknowledges and agrees that the
agreements contained in this Section 9.04 are an integral part of the transactions
contemplated by this Agreement and that, without these agreements, the other parties
would not enter into this Agreement. Each of the parties further acknowledges that the
payment by Sellers of the Breakup Fee and the Expense Reimbursement is not a penalty,
but rather liquidated damages in a reasonable amount that will compensate Buyers, together
with any additional damages to which Buyers may be entitled hereunder, in the
circumstances in which such Breakup Fee and Expense Reimbursement is payable for the
efforts and resources expended and the opportunities foregone while negotiating this
Agreement and in reliance on this Agreement and on the expectation of the consummation
of the transactions contemplated herein, which amount would otherwise be impossible to
calculate with precision. Without limiting in any way Buyers’ rights set forth in the DIP
Loan Agreement, Buyers’ receipt in full of the Breakup Fee and the Expense
Reimbursement, together with interest or collection expenses, if any, due and payable as
provided herein, shall be the sole and exclusive monetary remedy of Buyers against Sellers,
and Sellers shall have no further liability or obligation, under this Agreement or relating to
or arising out of any such breach of this Agreement or failure to consummate the
transactions contemplated herein. The obligations to pay the Breakup Fee and Expense
Reimbursement in accordance with the provisions of this Section 9.04 will (i) be binding
upon and enforceable against each Seller immediately upon the Bankruptcy Court’s
entering the Bidding Procedures Order, (ii) not be terminable or dischargeable thereafter
for any reason (except as otherwise set forth in this Agreement), (iii) survive any
subsequent conversion or dismissal or consolidation of the Bankruptcy Case, any plan of
reorganization or liquidation in such case, and (iv) survive the subsequent termination of
this Agreement by any means. The obligation to pay Buyers the Breakup Fee and Expense
Reimbursement, as and when required under this Agreement, are intended to be, and upon
entry of the Bidding Procedures Order are, binding (only to the extent such obligations are
not paid to Buyers from the proceeds of any Competing Transaction as and when such
Competing Transaction is consummated) upon (A) each Seller, (B) any successors or
assigns of any Seller, (C) any trustee of a Seller’s estate, (D) the reorganized Sellers and
(E) any other entity vested or revested with any right, title or interest in or to a Seller, or
any other Person claiming any rights in or control (direct or indirect) over any Seller (each
of (A) through (E), a “Successor”) as if such Successor were a Seller hereunder. The
obligations of Sellers to pay Buyers the Breakup Fee and Expense Reimbursement, as and


                                          53
                 Case 23-11878        Doc 1     Filed 11/17/23     Page 73 of 85




       when required under this Agreement (and only to the extent such obligations are not paid
       to Buyers from the proceeds of any Competing Transaction as and when such Competing
       Transaction closes), may not be discharged under Sections 1141 or 727 of the Bankruptcy
       Code or otherwise and may not be abandoned under Section 554 of the Bankruptcy Code
       or otherwise.

               (c)     For the avoidance of doubt, while Buyers may pursue (i) a grant of specific
       performance prior to the termination of this Agreement to cause the Closing and
       performance of this Agreement and (ii) concurrently pursue the payment of the Breakup
       Fee and the Expense Reimbursement, under no circumstances shall Buyers be permitted or
       entitled to receive both (A) the remedy of specific performance to cause the Closing and
       (B) the payment of the Breakup Fee and/or the Expense Reimbursement.

                                          ARTICLE X
                                       MISCELLANEOUS

         Section 10.01 Notices. All notices, requests, consents, claims, demands, waivers and other
communications hereunder shall be in writing (including electronic mail (“e-mail”) transmission
and shall be deemed to have been given (a) when delivered by hand (with written confirmation of
receipt); (b) when received by the addressee if sent by a nationally recognized overnight courier
(receipt requested); (c) on the date sent by e-mail of a PDF document (with confirmation of
transmission) if sent during normal business hours of the recipient, and on the next Business Day
if sent after normal business hours of the recipient or (d) on the third day after the date mailed, by
certified or registered mail, return receipt requested, postage prepaid. Such communications must
be sent to the respective parties at the following addresses (or at such other address for a party as
shall be specified in a notice given in accordance with this Section 10.01):

       if to Buyers, to:

               LEO Spiny Merger Sub, Inc.
               Industriparken 55
               DK-2750 Ballerup
               Denmark
               Attention: Legal Department
               E-mail: legal@leo-pharma.com

       with a copy (which shall not constitute notice) to:

               Covington & Burling LLP
               The New York Times Building, 620 8th Ave
               New York
               NY 10018
               Attention: Uri Doron
               E-mail: UDoron@cov.com

       if to the Sellers prior to the Closing Date, to:

               Timber Pharmaceuticals Inc.


                                                  54
                  Case 23-11878        Doc 1    Filed 11/17/23      Page 74 of 85




               3 Mountainview Road, Suite 100
               Warren, NJ 07059
               Attention: John Koconis
               E-mail: jkoconis@timberpharma.com

       with a copy (which shall not constitute notice) to:

               Lowenstein Sandler LLP
               One Lowenstein Drive
               Roseland, NJ 07068
               Attention: Steven Skolnick and Annie Nazarian Davydov
               E-mail: sskolnick@lowenstein.com and anazarian@lowenstein.com

        Section 10.02 No Survival of Representations and Warranties. The representations,
warranties, covenants and agreements contained herein and in any certificate or other writing
delivered pursuant hereto shall not survive the Closing Date and be extinguished by the Closing
other than those covenants and agreements, that by their terms are to be performed at or after the
Closing and the Sellers and Buyers agree that such covenants and agreements will survive the
Closing hereunder until the expiration of the applicable statute of limitations or for such shorter
period explicitly specified therein, and each party to this Agreement will be liable to the other
parties after the Closing for any breach thereof.

        Section 10.03 Expenses. Except as otherwise expressly provided herein, all costs and
expenses, including, without limitation, fees and disbursements of counsel, financial advisors and
accountants, incurred in connection with this Agreement and the transactions contemplated hereby
shall be paid by the party incurring such costs and expenses.

        Section 10.04 Entire Agreement. This Agreement, the Ancillary Documents and the DIP
Loan Agreement constitute the entire agreement between the parties with respect to the subject
matter contained herein and therein and supersede all prior agreements and understandings, both
oral and written, between the parties with respect to such subject matter. In the event of any
inconsistency between the statements in the body of this Agreement and those in the Ancillary
Documents, the Exhibits and Disclosure Schedules (other than an exception expressly set forth as
such in the Disclosure Schedules), the statements in the body of this Agreement will control.

        Section 10.05 Headings. The headings in this Agreement are for reference only and shall
not affect the interpretation of this Agreement.

        Section 10.06 Severability. If any term or provision of this Agreement is invalid, illegal or
unenforceable in any jurisdiction, such invalidity, illegality or unenforceability shall not affect any
other term or provision of this Agreement or invalidate or render unenforceable such term or
provision in any other jurisdiction. Upon such determination that any term or other provision is
invalid, illegal or unenforceable, the parties hereto shall negotiate in good faith to modify this
Agreement so as to effect the original intent of the parties as closely as possible in a mutually
acceptable manner in order that the transactions contemplated hereby be consummated as
originally contemplated to the greatest extent possible.

       Section 10.07 Binding Effect; Benefit; Assignment.


                                                  55
                 Case 23-11878       Doc 1     Filed 11/17/23     Page 75 of 85




               (a)     The provisions of this Agreement shall be binding on and shall inure to the
       benefit of the parties hereto and their respective successors and assigns.

               (b)     No party may assign, delegate or otherwise transfer any of its rights or
       obligations under this Agreement without the prior written consent of each other party
       hereto, except that Buyers may transfer or assign its respective rights and obligations under
       this Agreement, in whole or from time to time in part, (i) to one or more of its Affiliates at
       any time, (ii) as collateral to any financing sources at any time and (iii) after the Closing
       Date, to any Person; provided that such transfer or assignment shall not relieve Buyers of
       their respective obligations hereunder or enlarge, alter or change any obligation of any
       other party hereto or due to Buyers.

        Section 10.08 No Third Party Beneficiaries. Nothing in this Agreement, express or
implied, is intended to or shall confer upon any Person (other than the parties hereto) any right,
benefit or remedy of any nature whatsoever under or by reason of this Agreement.

       Section 10.09 Amendment and Waivers.

               (a)    Any provision of this Agreement may be amended or waived prior to the
       Closing Date if, but only if, such amendment or waiver is in writing and is signed, in the
       case of an amendment, by each party to this Agreement or, in the case of a waiver, by each
       party against whom the waiver is to be effective.

               (b)     No failure or delay by any party in exercising any right, power or privilege
       hereunder shall operate as a waiver thereof nor shall any single or partial exercise thereof
       preclude any other or further exercise thereof or the exercise of any other right, power or
       privilege. The rights and remedies herein provided shall be cumulative and not exclusive
       of any rights or remedies provided by applicable Law.

       Section 10.10 Governing Law; Jurisdiction; Waiver of Jury Trial.

            (a)  THIS AGREEMENT IS TO BE GOVERNED BY AND CONSTRUED 1N
       ACCORDANCE WITH FEDERAL BANKRUPTCY LAW, TO THE EXTENT
       APPLICABLE, AND WHERE STATE LAW IS IMPLICATED, THE INTERNAL
       LAWS OF THE STATE OF DELAWARE SHALL GOVERN, WITHOUT REGARD TO
       THE LAWS OF ANY OTHER JURISDICTION THAT MIGHT BE APPLIED
       BECAUSE OF CONFLICTS OF LAWS PRINCIPLES OF THE STATE OF
       DELAWARE.

            (b)   THE BANKRUPTCY COURT WILL HAVE JURISDICTION OVER
       ANY AND ALL DISPUTES BETWEEN OR AMONG THE PARTIES HERETO,
       WHETHER AT LAW OR IN EQUITY, ARISING OUT OF OR RELATED TO THIS
       AGREEMENT OR ANY AGREEMENT CONTEMPLATED HEREBY; PROVIDED,
       HOWEVER, THAT IF THE BANKRUPTCY COURT IS UNWILLING OR UNABLE
       TO HEAR ANY SUCH DISPUTE, THE COURTS OF THE STATE OF DELAWARE
       AND THE FEDERAL COURTS OF THE UNITED STATES OF AMERICA LOCATED
       IN DELAWARE WILL HAVE SOLE JURISDICTION OVER ANY AND ALL
       DISPUTES BETWEEN OR AMONG THE PARTIES HERETO, WHETHER AT LAW


                                                56
                 Case 23-11878        Doc 1    Filed 11/17/23      Page 76 of 85




       OR IN EQUITY, ARISING OUT OF OR RELATED TO THIS AGREEMENT OR ANY
       AGREEMENT CONTEMPLATED HEREBY.

            (c)  EACH OF THE PARTIES HERETO HEREBY IRREVOCABLY
       WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL
       PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE
       TRANSACTIONS CONTEMPLATED HEREBY.

        Section 10.11 Specific Performance. The parties hereto agree that irreparable damage
would occur if any provision of this Agreement were not performed in accordance with the terms
hereof, that money damages or other legal remedies would not be an adequate remedy for any such
damage, and that the parties shall be entitled to an injunction or injunctions to prevent breaches of
this Agreement or to enforce specifically the performance of the terms and provisions hereof
(without proof of damages) in any federal court located in the State of Delaware or any Delaware
state court, in addition to any other remedy to which they are entitled at law or in equity. Each
party agrees that no other party or Person shall be required to obtain, furnish, post or provide any
bond or other security or instrument in connection with any remedy referred to in this Section
10.11, and each party irrevocably waives any right that it may have to require the obtaining,
furnishing, posting or provision of any such bond or other security or instrument. If, prior to the
End Date, any party brings any action, suit or proceeding in accordance with this Section 10.11 to
enforce specifically the performance of the terms and provisions hereof by any other party, the
End Date shall automatically be extended by (i) the amount of time during which such action, suit
or proceeding is pending, plus 20 Business Days or (ii) such other time period established by the
court presiding over such action, suit or proceeding, as the case may be.

         Section 10.12 Counterparts; Effectiveness. This Agreement may be signed manually or by
facsimile or other electronic transmission by the parties (including in .pdf, .tiff, .jpg or similar
format), in any number of counterparts, each of which shall be an original, with the same effect as
if the signatures thereto and hereto were upon the same instrument. This Agreement shall become
effective when each party hereto shall have received a counterpart hereof signed by all of the other
parties hereto. Until and unless each party has received a counterpart hereof signed by the other
party hereto, this Agreement shall have no effect and no party shall have any right or obligation
hereunder (whether by virtue of any other oral or written agreement or other communication).

                                [SIGNATURE PAGE FOLLOWS]




                                                 57
               Case 23-11878      Doc 1   Filed 11/17/23    Page 77 of 85




IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed as of the
date first written above by their respective officers thereunto duly authorized.

                                           LEO PHARMA A/S


                                           By_____________________
                                           Name: Christophe Bourdon
                                           Title: CEO


                                           By_____________________
                                           Name: Philip Eickhoff
                                           Title: CFO


                                           LEO SPINY MERGER SUB, INC.


                                           By_____________________
                                           Name: Philip Eickhoff
                                           Title: Non-executive Director




                     [Signature Page to
       
                               Case 23-11878         Doc 1   Filed 11/17/23   Page 78 of 85




                                                              TIMBER PHARMACEUTICALS, INC.


                                                              By_____________________
                                                              Name: John Koconis
                                                              Title: Chief Executive Officer


                                                              TIMBER PHARMACEUTICALS, LLC.


                                                              By_____________________
                                                              Name: John Koconis
                                                              Title: Chief Executive Officer


                                                              BIOPHARMX, INC.



                                                              By_____________________
                                                              Name: John Koconis
                                                              Title: Chief Executive Officer




                                      [Signature Page to the Asset Purchase Agreement]
Case 23-11878   Doc 1     Filed 11/17/23   Page 79 of 85




                        Exhibit B

                DIP Credit Agreement

                    [see attached]




                           -8-
Case 23-11878   Doc 1   Filed 11/17/23   Page 80 of 85




                    [To be filed]




                        -8-
                                        Case 23-11878             Doc 1         Filed 11/17/23             Page 81 of 85



      Debtor name    Timber Pharmaceuticals, Inc.
      United States Bankruptcy Court for the:                            District of   Delaware
      Case number (If known):
                                                                                                                                  Check if this is an
                                                                                                                                         amended filing




Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
    30 Largest Unsecured Claims and Are Not Insiders                         12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and     Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code         email address of creditor       (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                 contact                         debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                 professional          unliquidated, total claim amount and deduction for value of
                                                                                 services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if     Deduction for    Unsecured
                                                                                                                       partially           value of         claim
                                                                                                                       secured             collateral or
                                                                                                                                           setoff

1    Patagonia Pharmaceuticals,
     LLC, 1199 Hillside Road,                   Zachary Rome, 201-463-1042,                                                                                2,090,000.0
                                                zdr@patagoniarx.com
     Fairfield, CT 06824                                                                                                                                   0
2    Lowenstein Sandler LLP, One William B. Farrell,
     Lowenstein Sandler          973-597-2500,                                                                                                             389,854.07
     Roseland NJ 07068           receivables@lowenstein.com

     U i d S Clinical, 8053
     Advanced
3                                               Matthew Gibson, MBA
     Solutions Center                           1 937.671.0015                                                                                             357,696.24
     Chicago IL 60677                           mgibson@advancedclinical.com

4    The Irvine Co/First Point, PO              smking@irvinecompany.com
                                                lcannatelli@irvinecompany.com
     Box 881129                                 408-330-0129                                                           195,792.70 114,543.00 81,249.70
     668442-115-S23919                          Linda Cannatelli, Director of
                                                Leasing,
     LBroadridge
         A l ICS,CA 90088   1129
                     1155 Long
5
     Island Avenue                              (631) 254-7422,                                                                                            81,555.27
                                                remittance@broadridge.com
     Edgewood NY 11717
     U   i d S Layton & Finger,
     Richards
6
     One Rodney Square                          302-651-7709, norman@rlf.com
                                                                                                                                                           54,534.20
     920 North King Street
     Wilmington DE 19801
7    PCI Pharma Services |                      Kaitlin Garvey,
     AndersonBrecon Inc., 4545                  Kaitlin.Garvey@pci.com                                                                                     51,274.22
     Assembly Drive                             570.360.3387

     Rockford, IL/61109
                                    Case 23-11878 Doc 1                         Filed 11/17/23            Page 82 of 85
                            Timber Pharmaceuticals, Inc.
        Debtor Name                                                                                            Case Number


         Name of creditor and complete          Name, telephone number, and     Nature of the claim   Indicate if   Amount of unsecured claim
         mailing address, including zip code    email address of creditor       (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                contact                         debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                professional          unliquidated, total claim amount and deduction for value of
                                                                                services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                      Total claim, if   Deduction for      Unsecured
                                                                                                                      partially         value of           claim
                                                                                                                      secured           collateral or
                                                                                                                                        setoff

    8    Ferndale Laboratories, Inc,           Sheila Gustafson (248) 586-
         6739 Reliable Parkway                 8527                                                                                                       41,950.00
         Chicago IL 60686-0067                 sgustafson@ferndalelabs.com

    9  PCG Advisory, Inc., 445 Park
                                     Jeff Ramson, 646-863-6893,
       Avenue                        jramson@pcgadvisory.com                                                                                              40,000.00
       9th Floor
    10 Parexel International Ltd,
       Uxbridge Business Park,                                                                                                                            31,306.00
       Building 4, Sanderson Road Abdallah,    Adam
                                     Adam.Abdallah@parexel.com
       Middlesex UB8 1DH
       United Kingdom
    11 Premier Research Consulting,
       LLC f/k/a Camargo             Madeline Hallinger
                                                                                                                                                          29,962.50
       Pharmaceutical Services, LLC, Madeline.Hallinger@premiercons
       One East 4th Street           ulting.com
                                     +1 757 310 2560
       Suite 1400
       Cincinnati OH 45202
    12 Brandsymbol, Inc., 2925       512-298-7544,
       Senna Dr.                     aplaisance@brandsymbol.com                                                                                           28,173.75
                                     Cole Roach
       Suite 207                     croach@brandsymbol.com
       Matthews NC 28105             704-823-6564

    13 LifeSci Consulting LLC, 250
       West 55th Street                        212) 915-3817                                                                                              20,000.00 1
                                               Michael Casey Cozart                                   C/U/D
       34th Floor                              mcozart@lifesciiconsulting.com
       New York NY 10019
    14 Colpitts Clinical, 10 Cottage           Jeff Brown (Sr. VP),
       Street                                  781-471-3463,                                                                                              19,488.88
       Norwood MA 02062                        jbrown@colpittsclinical.com

    15 Pharma Start LLC, 881 Busse             Trish Kane
         Road                                  773.887.6136                                                                                               19,440.01
         Elk Grove Village IL 60007            Trish.Kane@firmaclinical.com

    16 Jeiven Pharma Consulting, 77
       Brant Avenue                            Faye Varsolona                                                                                             18,687.50
                                               fvarsolona@jeiven.com
       Suite 405                               908.233.4508
       Clark NJ 07066
    17 Wiggin and Dana LLP,                    203-498-4521, ar@wiggin.com
       Accounts Receivable PO Box              Anthony Sabatelli 203-498-4365                                                                             15,048.00
                                               asabatelli@wiggin.com
       1832, New Haven CT 06508



1            Does not include the contingent sale fee.
        Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    page 2
                                    Case 23-11878             Doc 1          Filed 11/17/23            Page 83 of 85
 Debtor Name Timber Pharmaceuticals, Inc.                                                                   Case Number


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated, total claim amount and deduction for value of
                                                                             services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if   Deduction for      Unsecured
                                                                                                                   partially         value of           claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff

18 Kcas Bioanalytical And                  Jonathan Mercier
   Biomarker Services, 10830 S. jmercier@flowmetric.com                                                                                                11,970.00
   Clay Blair Blvd
                                  412-667-8777
   Olathe KS 66061
19 Syner-G Pharma Consulting, 9700,
                                  Stephen Cote, CFO, 508-460-

   LLC, 2 Park Central Drive #110 Stephen.cote@synergpharma.co                                                                                         9,432.50
   Southborough MA 01772          m

20 GENEDX, INC, 207 Perry
                                           Tara Ziegler (BD Mgr),
     Parkway                               231-675-9387,                                                                                               9,000.00
     Gaithersburg                          TZiegler@genedx.com
     MD MD 20877
21 Bashaw Consulting, 21 Troon
     Ct. Monroe, NJ 08832                                                                                                                              3,875.00
                                           Edward Bashaw
                                           e.dennis.bashaw@gmail.com
                                           301-648-2759




22 Mediant Communications,
     Inc, 400 Regency Forest Dr            8777631671,                                                                                                 3,820.84
                                           billingsupport@mediantonline.co
     Suite 200                             m
     Cary NC 27518
23 CMIT Solutions of
     Morristown, 55 Madison                9737608931,                                                                                                 3,681.60
                                           jbosslett@cmitsolutions.com
     Avenue
     SWiss
       i & 400
             Company LLP, 100
24                                         Evan D. Gernant, Partner
     Campus Dr Ste 400 West                egernant@wiss.com                                                                                           3,350.00
     Florham Park NJ 07932                  973 -577- 2868

                                           peter.jacobs@computershare.co
25 Computershare, Dept CH                  m
     19228                                 Consuelo                                                                                                    3,207.92
     Palatine IL 60055-9228                Galicia@computershare.com
                                           303-262-0616
26 Colpitts World Travel Ltd,
   Cairncross House 25 Union Jeff Brown (Sr. VP),                                                                                                      3,155.87
   Street                       781-471-3463,
                                jbrown@colpittsclinical.com
   Edinburgh EH13LR
   United Kingdom
27 Donohoe Advisory Associates,
   LLC, 9801 Washingtonian                                                                                                                             2,730.00
                                240-403-4180,
   Blvd                         cgraves@donohoeadvisory.com
   Suite 340
   Gaithersburg MD 20878
  Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                     page 3
                                 Case 23-11878              Doc 1       Filed 11/17/23            Page 84 of 85
 Debtor Name Timber Pharmaceuticals, Inc.                                                              Case Number


  Name of creditor and complete          Name, telephone number, and    Nature of the claim   Indicate if   Amount of unsecured claim
  mailing address, including zip code    email address of creditor      (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                         contact                        debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                        professional          unliquidated, total claim amount and deduction for value of
                                                                        services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                              Total claim, if   Deduction for      Unsecured
                                                                                                              partially         value of           claim
                                                                                                              secured           collateral or
                                                                                                                                setoff

28 ICON Life Sciences Canada,
   Inc., 2100 Pennbrook                                                                                                                           2,300.19
                                        Elizabeth.Wishart@iconplc.com
   Parkway
   North Wales PA 19454
29 Idea Innovative Drug
   European Associates                                                                                                                            2,157.08
   Limited*, 13 Classon House
                                        35319036117,
   Dundrum Business Park                finance@idearegulatory.com,
   Dundrum
   Dublin D14 WY93
   Ireland
30 Quantificare Inc., 570               Mélanie OGER                                                                                              1,786.51
   Peachtree Parkway                    +33 6 12 59 28 46
                                        moger@quantificare.com
   Cumming, GA 30041




 Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 4
       
                                        Case 23-11878             Doc 1         Filed 11/17/23                Page 85 of 85

     Fill in this information to identify the case and this filing:


                   Timber Pharmaceuticals, Inc.
     Debtor Name __________________________________________________________________

                                                                                   Delaware
     United States Bankruptcy Court for the: ______________________ District of __________
                                                                                   (State)
     Case number (If known):    _________________________




    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
    this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
    and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
    document, and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                Declaration and signature



             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
             another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule ____

              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                          Corporate Ownership Statement, List of Equity Security Holders
              Other document that requires a declaration__________________________________________________________________________________



            I declare under penalty of perjury that the foregoing is true and correct.

                               
            Executed on ______________                         8   _________________________________________________________________________
                               MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                   John   Koconis
                                                                   ________________________________________________________________________
                                                                    Printed name

                                                                    Chief Executive Officer
                                                                    ______________________________________
                                                                    Position or relationship to debtor



    Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
